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Attorneys for United States

                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

 LATIFAH DAVIS, Individually and
 as Administratrix of the Estate of
 LEGEND JONES,

             Plaintiff,                Civil Action No. 21-cv-13262

       v.

 BLAIR A. BERGEN, M.D.; NICOLE         NOTICE OF REMOVAL UNDER 28
 M. SIEMS, D.O.; SOUTHERN              U.S.C. § 233(c) AND SUBSTITUTION
 JERSEY FAMILY MEDICAL                 OF THE FQHC DEFENDANTS FOR
 CENTERS; ATLANTICARE                  THE UNITED STATES
 PHYSICIANS GROUP OBSTETRICS
 & GYNECOLOGY; ATLANTICARE
 REGIONAL MEDICAL CENTER;
 JOHN DOES 1-10; ABC ENTITIES
 1-10,

             Defendants.

To:   CLERK                                  ADAM M. EPSTEIN
      Superior Court of New Jersey           Mazie Slater Katz & Freeman
      Atlantic County, Law Division          103 Eisenhower Parkway
      1201 Bacharach Blvd.                   Roseland, NJ 07068
      Atlantic City, NJ 08401                Attorney for Plaintiffs

      ERIC M. WOOD
      Fox Rothschild LLP
      1301 Atlantic Avenue
      Midtown Building, Suite 400
      Atlantic City, NJ 08401
      Attorney for AtlantiCare Defendants
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      PLEASE TAKE NOTICE that this action, previously pending in the Superior

Court of New Jersey, Atlantic County, Law Division, Civil Part, Docket No. ATL-L-

4213-20 (the “State Court Action”), is removed by defendants Blair A. Bergen, M.D.,

Nicole M. Siems, D.O., and Southern Jersey Family Medical Centers (collectively,

the “FQHC Defendants”) to the United States District Court for the District of New

Jersey under 28 U.S.C. § 233(c).

      PLEASE TAKE FURTHER NOTICE that under 42 U.S.C. § 233(c) and (g),

the United States of America is substituted for the FQHC Defendants regarding all

claims set forth in the amended complaint.

      The United States of America, by and through its undersigned attorneys,

respectfully states the following in support of the removal of the State Court Action:

                                 Procedural Status

      1.     On December 23, 2020, Plaintiffs filed a complaint in the Superior

Court of New Jersey, Law Division, Civil Part, against Blair A. Bergen, M.D.,

AtlantiCare Maternal Fetal Medicine, and AtlantiCare Regional Medical Center.

See Ex. 1 (complaint). The complaint did not name as a defendant Nicole M. Siems,

D.O. or Southern Jersey Family Medical Centers. See id.

      2.     On January 15, 2021, AtlantiCare Regional Medical Center filed an

answer to the complaint and averred that AtlantiCare Maternal Fetal Medicine “is

not an entity. See Ex. 2 at 1.

      3.     On March 10, 2021, the court in the State Court Action entered a

consent order granting Plaintiffs leave to amend their complaint. See Ex. 3.

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      4.     On March 12, 2021, Plaintiffs filed an amended complaint naming as

defendants the FQHC Defendants, as well as AtlantiCare Physicians Group

Obstetrics and Gynecology and AtlantiCare Regional Medical Center (collectively,

the AtlantiCare Defendants”). See Ex. 4.

      5.     On April 5, 2021, Plaintiffs filed an affidavit of merit signed by Richard

L. Luciani, M.D. See Ex. 5.

      6.     On April 27, 2021, the United States filed a notice under 42 U.S.C. §

233(l)(1) for the limited purpose of notifying the state court as to whether the

Secretary of Health and Human Services (“HHS”) had advised that FQHC

Defendants had been “deemed” to be an “employee of the Public Health Service”

regarding the actions or omissions in the amended complaint. See Ex. 6.

      7.     On April 30, 2021, the AtlantiCare Defendants filed an answer to the

amended complaint. See Ex. 7.

      8.     On May 8, 2021, the state court issued a call for dismissal by July 6,

2021 for lack of prosecution under Rules 1:13-7 and 4:43-2. See Ex. 8.

      9.     Plaintiffs have not served either the complaint or the amended

complaint on the United States under Rule 4(i) of the Federal Rules of Civil

Procedure.

                  Plaintiffs’ “Exclusive” Remedy Under FTCA

      10.    Plaintiffs allege that the FQHC Defendants and the AtlantiCare

Defendants committed “malpractice” and that Drs. Bergen and Siems committed

“breach of informed consent.” See Ex. 4 at 6.

      11.    Under New Jersey law, “a patient currently has three avenues of relief
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against a doctor; namely, (1) deviation from the standard of care (medical

malpractice); (2) lack of informed consent; and (3) battery.” Starozytnyk v. Reich,

377 N.J. Super. 111, 123-24 (App. Div. 2005) (citations omitted). “Although each of

these avenues of relief is based on different theoretical approaches, it is now clear

that deviation from the standard of care and failure to obtain informed consent are

simply sub-groups of a broad claim of medical negligence.” Id. at 124 (quotations

omitted).

      12.    Accordingly, Plaintiffs’ causes of action sound in medical negligence.

      13.    On or about May 26, 2021, HHS “deemed” the FQHC Defendants to be

employees of the U.S. Public Health Service under the Federally Supported Health

Centers Assistance Act, 42 U.S.C. § 233 (g)-(n).

      14.    The U.S. Public Health Service is a federal agency operating within

HHS and deployed throughout the federal government with a mission to deliver

“the nation’s public health promotion and disease prevention programs and

advancing public health science.” 1

      15.     Under 42 U.S.C. § 233(a), the “exclusive” “remedy” “for damage for

personal injury, including death, resulting from the performance of medical,

surgical, dental, or related functions, including the conduct of clinical studies or

investigation, by any commissioned officer or employee of the Public Health Service

while acting within the scope of his office or employment” is the Federal Tort

Claims Act (“FTCA”).


1See https://www.hhs.gov/surgeongeneral/corps/index.html (last visited June 29,
2021); see also https://www.usphs.gov/ (last visited June 29, 2021).
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              Substitution of United States as Proper Defendant

      16.    Under the FTCA, the only proper defendant is the United States. See

Bailey v. U.S. Marshals Serv. Headquarters, 426 F. App’x 44, 45-46 (3d Cir. 2011)

(“It is well established that the United States is the only proper defendant in an

action brought under the FTCA.”).

      17.    “Upon a certification by the Attorney General that the defendant was

acting in the scope of his employment at the time of the incident out of which the

suit arose, any such civil action or proceeding commenced in a State court shall be

removed without bond at any time before trial by the Attorney General to the

district court of the United States of the district and division embracing the place

wherein it is pending and the proceeding deemed a tort action brought against the

United States under the provisions of title 28 and all references thereto.” 42 U.S.C.

§ 233(c); see also 28 C.F.R. § 15.4 (removal and defense of suits against a “Federal

employee” or “covered person”).

      18.    The Attorney General, through a delegation to the Chief of the Civil

Division, certifies that the FQHC Defendants were acting within the scope of their

employment at the time of the incident giving rise to claims in the amended

complaint. See Ex. 9 (scope certification).

      19.    The United States District Court for the District of New Jersey is the

federal district embracing the place in which the State Court Action is pending.

      20.    A copy of this notice of removal will be electronically filed via eCourts

with the Clerk of the Superior Court of New Jersey, Atlantic County, Law Division.

See Ex. 10 (letter to the Clerk of the Superior Court).
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      21.    Additionally, copies of this notice of removal will be served on all

counsel of record via eCourts and e-mail.

      THEREFORE, the State Court Action is hereby removed to the United States

District Court for the District of New Jersey for further proceedings, and the United

States of America is substituted for the FQHC Defendants under 42 U.S.C. § 233(c).



                                                RACHAEL A. HONIG
                                                Acting United States Attorney


                                        By:     /s/ John F. Basiak Jr.
                                                JOHN F. BASIAK JR.
                                                Assistant U.S. Attorney
                                                Attorneys for United States

Dated: July 1, 2021




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                            Exhibit 1
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       David A. Mazie, Esq. (Attorney ID: 017941986)
       Adam M. Epstein, Esq. (Attorney ID: 027482010)
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       Attorneys for Plaintiff

        LATIFAH DAVIS, Individually and            SUPERIOR COURT OF NEW JERSEY
        as Administratrix of the Estate of         LAW DIVISION – ATLANTIC COUNTY
        LEGEND JONES,                              DOCKET NO.: ATL-L-

                    Plaintiff,                                    Civil Action

              vs.
                                                      COMPLAINT AND JURY DEMAND
        BLAIR A. BERGEN, M.D.;
        ATLANTICARE MATERNAL
        FETAL MEDICINE;
        ATLANTICARE REGIONAL
        MEDICAL CENTER;
        JOHN DOES 1-10; ABC ENTITIES
        1-10,

                        Defendants.




              Plaintiff Latifah Davis (“Davis”), residing at 400 North Indiana Avenue, Atlantic

       City, New Jersey, by way of Complaint against the defendants, says as follows:

                                                 FIRST COUNT
              1.        At all times relevant herein, defendant Blair A. Bergen, M.D. (“Dr. Bergen”)

       was a physician duly licensed to practice medicine in the State of New Jersey, holding

       himself out as a specialist in Obstetrics and Gynecology, and working at Atlanticare

       Maternal Fetal Medicine.
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               2.      At all times relevant herein, Atlanticare Maternal Fetal Medicine (“AMFM”)

       maintained its principal place of business at 254 1401 Atlantic Avenue, Suite 2300 in

       Atlantic City, New Jersey.

               3.      Atlanticare Regional Medical Center Mainland Campus (“Atlanticare”) is a

       hospital providing patients with a wide range of medical services, including but not limited

       to child labor and delivery. Atlanticare’s principal place of business is located at 65 Jimmie

       Leeds Road in Pomona, New Jersey.

               4.      At all times relevant herein defendant, John Does 1-10 were doctors, nurses,

       assistants and/or other medical professionals on the dates at issue involved in the treatment

       and care of Plaintiff.

               5.      At all times relevant herein defendants, ABC Corps. 1-10 were entities which

       employed or were affiliated with any defendant in this matter.

               6.      Davis treated with Dr. Bergen throughout the course of her pregnancy, seeing

       Dr. Bergen for checkups as scheduled.

               7.      Davis was admitted to Atlanticare for delivery of her baby on February 16,

       2020.

               8.      Davis and Dr. Bergen discussed the plan for inducing labor which included

       the use of Cytotec (a/k/a misoprostol). Neither Dr. Bergen nor any other doctor, nurse or

       staff member advised Davis of any risks of using Cytotec to induce labor. In particular,

       neither Dr. Bergen nor any other doctor, nurse or staff member advised Davis that the Food

       & Drug Administration (“FDA”) had warned against using Cytotec to assist in the induction

       of labor.
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               9.        On February 16, 2020 at approximately 7:15 a.m., Cytotec was placed

        vaginally in Ms. Davis at the direction and/or instruction of Dr. Bergen.

               10.       At approximately 9:15 a.m., Dr. Bergen was called by a nurse to inform him

        of fetal bradycardia in Ms. Davis’s baby, Legend Jones, after Ms. Davis sustained a ruptured

        membrane with thin meconium fluid.

               11.       An emergency cesarean section was subsequently called for fetal distress and

        vaginal bleeding, as well as possible placenta abruption.

               12.       An emergency cesarean section and hysterectomy were performed at

        approximately 9:31 a.m.

               13.       Unfortunately, upon delivery it was apparent that the baby had suffered

        significant damages. Legend Jones’ Apgar score at one minute was 0, at five minutes was

        0, at ten minutes was 1, and at twenty minutes was 2.

               14.       On February 16, 2020 at approximately 6:20 p.m., Legend Jones died.

               15.       Defendants Dr. Bergen and John Does 1-10 failed to exercise the degree of

        care commonly exercised by other medical and/or healthcare professionals in like cases

        having due regard to the existing state of knowledge of medicine. Specifically, defendants

        misused Cytotec to induce Ms. Davis, and additionally failed to warn her of the following

        FDA alert regarding Misoprostol (marketed as Cyotec), which had been in existence since

        July 10, 2015:

                         “FDA Alert – Risks of Use in Labor and Delivery.

                         This Patient Information Sheet is for pregnant women who
                         may receive misoprostol to soften their cervix or induce
                         contractions to begin labor. Misoprostol is sometimes used
                         to decrease blood loss after delivery of a baby. These uses
                         are not approved by the FDA. No company has sent the FDA
                         scientific proof that misoprostol is safe and effective for
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                        these uses.

                        There can be serious side effects, including a torn uterus
                        (womb), when misoprostol is used for labor and delivery. A
                        torn uterus may result in severe bleeding, having the uterus
                        removed (hysterectomy), and death o the mother or baby.
                        These side effects are more likely in women who have had
                        previous uterine surgery, a previous Cesarean delivery (C-
                        section), or several previous births.”

               16.      Defendants Dr. Bergen and John Does 1-10 were negligent, inter alia:

               •     for using Cytotec to induce labor; and

               •     for failing to properly and timely monitor Ms. Davis and Legend Jones’s vital
                     signs.

               17.      As a direct and proximate result of defendants’ malpractice, Legend Jones

        experienced great pain, suffering and permanent injury, ultimately resulting in his untimely

        death. Plaintiff seeks recovery against Defendants Dr. Bergen and John Does 1-10 of all

        damages permitted pursuant to the New Jersey Wrongful Death Act and the New Jersey

        Survivor’s Act, including but not limited to all physical and emotional injuries suffered by

        Legend Jones prior to his death.

               WHEREFORE, plaintiff Latifah Davis as Administatrix of the Estate of Legend

        Jones demands judgment against defendants Blair A. Bergen, M.D. and John Does 1-10 for

        compensatory damages, attorney’s fees, interest, costs of suit and for such other relief as the

        Court deems equitable and just.

                                             SECOND COUNT

               1.       Plaintiff repeats and realleges the allegations heretofore plead.

               2.       Plaintiff Latifah Davis was present and witnessed Dr. Bergen’s and John

        Does 1-10’s malpractice and its resulting injury to her baby. Ms. Davis had specifically

        requested that Cytotec not be used to induce labor beforehand, but her requests were ignored.
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        Ms. Davis was aware at the time of these events that the treatment provided to her baby and

        herself fell below the acceptable standards of care.

                3.      As a result of witnessing and experiencing this malpractice, Ms. Davis has

        suffered significant and permanent psychological injuries.

                WHEREFORE, plaintiff Latifah Davis demands judgment against defendants Blair

        A. Bergen, M.D. and John Does 1-10 for compensatory damages, interest, attorney’s fees,

        costs and such other relief as the Court seems equitable and just.

                                              THIRD COUNT

                1.      Plaintiff Latifah Davis repeats and realleges the allegations heretofore plead

        as if fully set forth herein.

                2.      Defendant Dr. Bergen and John Does 1-10 had a duty to fully explain to Ms.

        Davis all risks, benefits and alternatives to using Cytotec to induce Ms. Davis into labor for

        the delivery of her baby, Legend Jones. Dr. Bergen failed to discuss any risks, benefits or

        alternatives to using Cytotec, thereby breaching his duty of informed consent.

                3.      Specifically, Dr. Bergen and John Does 1-10 failed to inform Ms. Davis that

        Cytotec was contraindicated for inducing labor, that there was a risk of a torn uterus and a

        possible hysterectomy if it was administered, and he failed to inform her of all known

        complications of using Cytotec to induce labor. In this instance, Ms. Davis endured a torn

        uterus, a hysterectomy and the loss of her child after Dr. Bergen and John Does 1-10 used

        Cytotec to induce labor.

                4.      Had Dr. Bergen and John Does 1-10 properly advised Latifah Davis of the

        risks, benefits and alternatives concerning the use of Cytotec, plaintiff (and a reasonable
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        patient) would not have consented to the use of Cytotec and instead would have demanded

        that an FDA approved medication be used.

                5.          As a direct and proximate result of the breach of informed consent, plaintiff

        has suffered damages.

                WHEREFORE, Latifah Davis, both individually and as Administratrix of the Estate

        of Legend Jones, demands judgment against defendant Blair A. Bergen, M.D. and John Does

        1-10 for compensatory damages, interests, attorneys’ fees, costs and such other relief as the

        Court seems equitable and just.

                                                FOURTH COUNT

                1.          Plaintiff Latifah Davis repeats and realleges the allegations heretofore plead

        as if fully set forth herein.

                2.          As a result of the negligence of Dr. Bergen and John Does 1-10, Latifah Davis

        suffered severe injuries, including but not limited to a torn uterus and a hysterectomy, pain

        and suffering, disability, impairment, loss of enjoyment to life, and suffered economic

        damages including but not limited to medical bills and expenses, and loss of income for the

        rest of her life.

                WHEREFORE, plaintiff Latifah Davis demands judgment against defendants Blair

        A. Bergen, M.D. and John Does 1-10 for compensatory damages, interest, attorney’s fees,

        costs and such other relief as the Court seems equitable and just

                                                  FIFTH COUNT

                1.          Plaintiff Latifah Davis repeats and realleges the allegations heretofore plead

        as if fully set forth herein.
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                2.      At all times relevant, defendants Dr. Bergen and John Does 1-10 are/were

        employees, agents, and/or servants of defendants Atlanticare Maternal Fetal Medicine,

        Atlanticare Regional Medical Center Mainland Campus and/or ABC Corps. 1-10.

        Therefore, defendants Atlanticare Maternal Fetal Medicine, Atlanticare Regional Medical

        Center Mainland Campus and/or ABC Corps. 1-10 are liable for the negligence of Dr.

        Bergen and John Does 1-10 and the failure to provide informed consent pursuant to the

        doctrine of respondeat superior/agency/apparent agency.

                WHEREFORE, plaintiff demands judgment against defendants Atlanticare Maternal

        Fetal Medicine, Atlanticare Regional Medical Center Mainland Campus and/or ABC Corps.

        1-10 for compensatory damages, interest, attorney’s fees, costs and such other relief as the

        Court seems equitable and just.

                                              FIFTH COUNT

                1.      Plaintiff Latifah Davis repeats and realleges the allegations heretofore plead

        as if fully set forth herein.

                2.      Defendants, Dr. Bergen, John Does 1-10, Atlanticare Maternal Fetal

        Medicine, Atlanticare Regional Medical Center Mainland Campus and/or ABC Corps. 1-10

        knew and were actually aware of the fact that there was significant danger of using Cytotec

        to induce Ms. Davis’s labor, as opposed to other labor inducing medications, but did so for

        the sole purpose of saving money. In fact, defendants knew and were fully aware of the fact

        that Cytotec was not approved by the FDA for the purpose of inducing labor, and that the

        FDA warned that Cytotec may cause the same complications that plaintiffs suffered if used

        for the purpose of inducing labor.
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                  3.      Defendants’ actions were wanton, willful and with reckless disregard for the

        health, safety and well-being of both Latifah Davis and her baby, Legend Jones.

                  4.      Defendants’ callous acts warrant an award of punitive damages.

                  WHEREFORE, plaintiff demands judgment against defendants Blair A. Bergen,

        M.D., John Does 1-10, Atlanticare Maternal Fetal Medicine, Atlanticare Regional Medical

        Center Mainland Campus and/or ABC Corps. 1-10 for compensatory damages, punitive

        damages, interest, attorney’s fees, costs and such other relief as the Court seems equitable

        and just.

                                                JURY DEMAND

                  Please take notice that the plaintiffs demand a trial by jury as to all issues in the

        above matter.

                                   DESIGNATION OF TRIAL COUNSEL

                  David A. Mazie, Esq. is hereby designated as trial counsel in the above captioned

        matter.

                                  DEMAND FOR MEDICAL SPECIALTY

                  Pursuant to R. 4:5-3, provide the exact field of medicine you were practicing at the

        time of the alleged malpractice, and whether your treatment of the plaintiff involved that

        specialty.

                                   DEMAND FOR INSURANCE COVERAGE

                  In accordance with R. 4:10-2, defendants are demanded to provide a complete copy

        of all applicable insurance policies and declaration sheets demonstrating coverage within

        thirty (30) days of service of this Complaint.
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                                        DISCOVERY DEMANDS

               Plaintiff hereby demands that each defendant serve certified answers to Form C and

        Form C(3) Interrogatories within thirty (30) days of service of this Complaint. Plaintiff

        further demands that each defendant produce complete copies of the following documents

        within 30 days of service of the Complaint:

                      1.       True copies or original of all medical reports or
               records in the possession of the defendants with regard to any medical
               condition or illness, at any time, of plaintiff.

                       2.      True copies or original of all photographs, videos,
               charts, or diagrams in the possession of the defendants or under
               defendants’ control regarding any matter relevant to the subject
               matter of this case.

                       3.      True copies or originals of any statements (written,
               oral or recorded), in the possession or control of the defendants from
               any party or witness regarding any matter relevant to the subject
               matter of this case.

                      4.      True copies or original of all documents in the
               possession of the defendants which support any defense or cross-
               claim being asserted by the defendants in the within litigation.

                       5.        True copies of any documents which defendants may
               utilize at trial, either as an exhibit marked for identification, cross-
               examination or as evidence.

                       6.     True copies or originals of all contracts or agreements
               between defendants and any other individuals, entities or other
               defendants, which touch on or relate to any matter relevant to the
               subject matter of this case.

                       7.      Provide original or true copies of each and every
               learned treatise, article, or any other scholarly or informational matter
               which defendants may utilize at the trial of this case either for use in
               defendants' case in chief, on cross-examination, on rebuttal, or at any
               other stage of the trial of this case.

                      8.     Provide original or true copy of each and every
               statement given by plaintiff, at any time, either written or recorded.
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                      9.      Provide original or true copy of any and all discovery
              material with regard to any accident, injury, or lawsuit involving
              plaintiff, including but not limited to answers to interrogatories,
              deposition transcripts, and admissions.

                     10.    Produce copies of all correspondence between
              defendants and any anyone else regarding the treatment of plaintiff.

                      11.       True copies or original of any and all communications
              between defendants and any other individuals involved in the treatment
              of the plaintiff.

                      12.    True copies or original of any communications between
              defendants and any other entity regarding any matter relevant to the
              subject matter of this case.

                      13.    True copies of any documents in defendants’
              possession with regard to the criminal history of any party, witness,
              or person with knowledge relevant to this action.

                     14.    Copies of all reports or documents received from the
              Central Index Bureau (CIB) with regard to the plaintiff, decedent or
              defendant.

                     15.     A transcription of any handwritten office notes or
              treatment record maintained by defendant.

                     16.    Copies of all insurance policies (primary and excess)
              they may provide coverage for the allegations made in this Complaint.

                      17.    Copies of all pleadings, deposition transcripts, trial
              transcripts and discovery responses related to any other medical
              malpractice action where you were a defendant.

                      18.     The complete electronic records, documents, and
              information with regard to the plaintiff, or the plaintiff’s medical care,
              regardless of how titled, described, or categorized, including but not
              limited to, (1) medical records including but not limited to progress
              notes, nursing records, laboratory testing, and imaging, (2), orders,
              (3) documentation of who was involved in any way, and when that
              occurred, (4) financial information, (5) charge sheets, and (6) legal
              records or notes. Produce in hard copy and native, electronic format.

                     19.     True copies of any contracts of employment involving
              Dr. Blair A. Bergen from January 1, 2010 to present.
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                       20.    Billing records for all Cytotec (misoprostol) usage in
               patients from January 1, 2010 through present.

                      21.    Billing records for all medications used to induce labor
               besides Cytotec (misoprostol) in patient from January 1, 2010.

                      22.     True copies or original of any and all internal memos,
               notes, policies and/or procedures regarding the use of Cytotec
               (misoprostol) for inducing labor.

                     23.    True copies or originals of any and all notices from the
               FDA regarding the use of Cytotec from any organization.


                                              MAZIE SLATER KATZ & FREEMAN, LLC
                                              Attorneys for Plaintiff



                                              BY:     /s/ Adam M. Epstein
                                                      ADAM M. EPSTEIN
        Dated: December 23, 2020



                                     RULE 4:5-1 CERTIFICATION

               I hereby certify that to the best of my knowledge the matter in controversy is not

        the subject of any other action pending in any Court or of a pending arbitration proceeding.

        I do not know of any other parties who should be joined in this action at this time.

               I hereby certify that the foregoing statements made by me are true. I am aware that

        if the statements made by me are willfully false, I am subject to punishment.



                                              MAZIE SLATER KATZ & FREEMAN, LLC
                                              Attorneys for Plaintiff



                                              BY:     /s/ Adam M. Epstein
                                                       ADAM M. EPSTEIN
        Dated: December 23, 2020
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                        Civil Case Information Statement
 Case Details: ATLANTIC | Civil Part Docket# L-004213-20

Case Caption: DAVIS LATIFAH VS BERGEN, M.D. BLAIR                Case Type: MEDICAL MALPRACTICE
Case Initiation Date: 12/23/2020                                 Document Type: Complaint with Jury Demand
Attorney Name: ADAM M EPSTEIN                                    Jury Demand: YES - 6 JURORS
Firm Name: MAZIE SLATER KATZ & FREEMAN                           Is this a professional malpractice case? YES
Address: 103 EISENHOWER PKY                                      Related cases pending: NO
ROSELAND NJ 07068                                                If yes, list docket numbers:
Phone: 9732289898                                                Do you anticipate adding any parties (arising out of same
Name of Party: PLAINTIFF : DAVIS, LATIFAH                        transaction or occurrence)? NO
Name of Defendant’s Primary Insurance Company
(if known): Unknown                                              Are sexual abuse claims alleged by: LATIFAH DAVIS? NO


                                                                 Are sexual abuse claims alleged by: LATIFAH DAVIS? NO



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




 Do parties have a current, past, or recurrent relationship? NO
 If yes, is that relationship:
 Does the statute governing this case provide for payment of fees by the losing party? NO
 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:


 Do you or your client need any disability accommodations? NO
        If yes, please identify the requested accommodation:


 Will an interpreter be needed? NO
          If yes, for what language:


 Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




 I certify that confidential personal identifiers have been redacted from documents now submitted to the
 court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

 12/23/2020                                                                                           /s/ ADAM M EPSTEIN
 Dated                                                                                                             Signed
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                             Exhibit 2
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 Fox Rothschild LLP
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 1301 Atlantic Avenue
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 609-348-4515 (FAX: 609-348-6834)
 Eric M. Wood Attorney ID #022581990
 Epiphany McGuigan Attorney ID#045911883
 Attorneys for Defendant AtlantiCare Regional Medical Center

                                                               SUPERIOR COURT OF NEW JERSEY
 LATIFAH DAVIS, Individually and as                                    LAW DIVISION
 Administratrix of the Estate of LEGEND                              ATLANTIC COUNTY
 JONES
                                                                 DOCKET NO.: ATL-L-4213-20
                                                Plaintiff,
                     vs.                                               CIVIL ACTION

 BLAIR A. BERGEN, M.D.; ATLANTICARE
 MATERNAL FETAL MEDICINE;                                     DEFENDANT, ATLANTICARE
 ATLANTICARE REGIONAL MEDICAL                                REGIONAL MEDICAL CENTER,
 CENTER; JOHN DOES 1-110; ABC                                  ANSWER TO PLAINTIFFS’
 ENTITIES 1-10                                                COMPLAINT, AFFIRMATIVE
                                                               DEFENSES, REQUEST FOR
                                              Defendants.  STATEMENT OF DAMAGES, NOTICE
                                                              OF DESIGNATION OF TRIAL
                                                           COUNSEL, JURY DEMAND, NOTICE
                                                          PURSUANT TO R. 1:5-1(A) AND 4:17-4(C)
                                                                  AND CROSSCLAIM


           NOW COMES the defendant, AtlantiCare Regional Medical Center, by way of Answer to

 Plaintiffs’ Complaint, says:

                                                 FIRST COUNT

        1.           It is admitted that Dr. Bergen is a licensed physician. The remaining portion of

 the allegations are denied.

        2.           AtlantiCare Maternal Fetal Medicine is not an entity, and therefore does not

 maintain a principal place of business.

        3.           Admitted.
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      4.        Upon the advice of counsel, this answering defendant presently has insufficient

 information upon which to admit or deny the allegations of this paragraph and therefore enters a

 formal denial and puts plaintiff to proof. Moreover, it appears the allegations of this paragraph

 are not directed toward these answering defendant.

      5.        Upon the advice of counsel, this answering defendant presently has insufficient

 information upon which to admit or deny the allegations of this paragraph and therefore enters a

 formal denial and puts plaintiff to proof. Moreover, it appears the allegations of this paragraph

 are not directed toward these answering defendant.

      6.        Upon the advice of counsel, this answering defendant presently has insufficient

 information upon which to admit or deny the allegations of this paragraph and therefore enters a

 formal denial and puts plaintiff to proof. Moreover, it appears the allegations of this paragraph

 are not directed toward these answering defendant.

      7.        Upon the advice of counsel, this answering defendant presently has insufficient

 information upon which to admit or deny the allegations of this paragraph and therefore enters a

 formal denial and puts plaintiff to proof. Moreover, it appears the allegations of this paragraph

 are not directed toward these answering defendant.

      8.        Upon the advice of counsel, this answering defendant presently has insufficient

 information upon which to admit or deny the allegations of this paragraph and therefore enters a

 formal denial and puts plaintiff to proof. Moreover, it appears the allegations of this paragraph

 are not directed toward these answering defendant.

      9.        Upon the advice of counsel, this answering defendant presently has insufficient

 information upon which to admit or deny the allegations of this paragraph and therefore enters a




                                                  2
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 formal denial and puts plaintiff to proof. Moreover, it appears the allegations of this paragraph

 are not directed toward these answering defendant.

     10.        Upon the advice of counsel, this answering defendant presently has insufficient

 information upon which to admit or deny the allegations of this paragraph and therefore enters a

 formal denial and puts plaintiff to proof. Moreover, it appears the allegations of this paragraph

 are not directed toward these answering defendant.

     11.        Upon the advice of counsel, this answering defendant presently has insufficient

 information upon which to admit or deny the allegations of this paragraph and therefore enters a

 formal denial and puts plaintiff to proof. Moreover, it appears the allegations of this paragraph

 are not directed toward these answering defendant.

     12.        Upon the advice of counsel, this answering defendant presently has insufficient

 information upon which to admit or deny the allegations of this paragraph and therefore enters a

 formal denial and puts plaintiff to proof. Moreover, it appears the allegations of this paragraph

 are not directed toward these answering defendant.

     13.        Upon the advice of counsel, this answering defendant presently has insufficient

 information upon which to admit or deny the allegations of this paragraph and therefore enters a

 formal denial and puts plaintiff to proof. Moreover, it appears the allegations of this paragraph

 are not directed toward these answering defendant.

     14.        Upon the advice of counsel, this answering defendant presently has insufficient

 information upon which to admit or deny the allegations of this paragraph and therefore enters a

 formal denial and puts plaintiff to proof. Moreover, it appears the allegations of this paragraph

 are not directed toward these answering defendant.




                                                  3
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     15.        Upon the advice of counsel, this answering defendant presently has insufficient

 information upon which to admit or deny the allegations of this paragraph and therefore enters a

 formal denial and puts plaintiff to proof. Moreover, it appears the allegations of this paragraph

 are not directed toward these answering defendant.

     16.        Upon the advice of counsel, this answering defendant presently has insufficient

 information upon which to admit or deny the allegations of this paragraph and therefore enters a

 formal denial and puts plaintiff to proof. Moreover, it appears the allegations of this paragraph

 are not directed toward these answering defendant.

     17.        Denied.

        WHEREFORE, this answering defendant demands judgment dismissing the Complaint

 and for such other relief as the Court deems to be just and equitable.

                                        SECOND COUNT

      1.        This answering defendant repeats and incorporates herein by reference each and

 every answer to the preceding paragraphs of the Complaint.

      2.        Upon the advice of counsel, this answering defendant presently has insufficient

 information upon which to admit or deny the allegations of this paragraph and therefore enters a

 formal denial and puts plaintiff to proof. Moreover, it appears the allegations of this paragraph

 are not directed toward these answering defendant.

      3.        Upon the advice of counsel, this answering defendant presently has insufficient

 information upon which to admit or deny the allegations of this paragraph and therefore enters a

 formal denial and puts plaintiff to proof. Moreover, it appears the allegations of this paragraph

 are not directed toward these answering defendant.

        WHEREFORE, this answering defendant demands judgment dismissing the Complaint

 and for such other relief as the Court deems to be just and equitable.

                                                  4
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                                         THIRD COUNT

      1.        This answering defendant repeats and incorporates herein by reference each and

 every answer to the preceding paragraphs of the Complaint.

      2.        Upon the advice of counsel, this answering defendant presently has insufficient

 information upon which to admit or deny the allegations of this paragraph and therefore enters a

 formal denial and puts plaintiff to proof. Moreover, it appears the allegations of this paragraph

 are not directed toward these answering defendant.

      3.        Upon the advice of counsel, this answering defendant presently has insufficient

 information upon which to admit or deny the allegations of this paragraph and therefore enters a

 formal denial and puts plaintiff to proof. Moreover, it appears the allegations of this paragraph

 are not directed toward these answering defendant.

      4.        Upon the advice of counsel, this answering defendant presently has insufficient

 information upon which to admit or deny the allegations of this paragraph and therefore enters a

 formal denial and puts plaintiff to proof. Moreover, it appears the allegations of this paragraph

 are not directed toward these answering defendant.

      5.        Denied.

        WHEREFORE, this answering defendant demands judgment dismissing the Complaint

 and for such other relief as the Court deems to be just and equitable.

                                        FOURTH COUNT

      1.        This answering defendant repeats and incorporates herein by reference each and

 every answer to the preceding paragraphs of the Complaint.

      2.        Upon the advice of counsel, this answering defendant presently has insufficient

 information upon which to admit or deny the allegations of this paragraph and therefore enters a




                                                  5
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 formal denial and puts plaintiff to proof. Moreover, it appears the allegations of this paragraph

 are not directed toward these answering defendant.

            WHEREFORE, this answering defendant demands judgment dismissing the Complaint

 and for such other relief as the Court deems to be just and equitable.

                                               FIFTH COUNT

       1.         This answering defendant repeats and incorporates herein by reference each and

 every answer to the preceding paragraphs of the Complaint.

       2.         Denied. Dr. Bergen was employed by South Jersey Family Medical Center

 through a contract to treat their patients.

            WHEREFORE, this answering defendant demands judgment dismissing the Complaint

 and for such other relief as the Court deems to be just and equitable.

                                               FIFTH COUNT

       1.         This answering defendant repeats and incorporates herein by reference each and

 every answer to the preceding paragraphs of the Complaint.

       2.         Upon the advice of counsel, this answering defendant presently has insufficient

 information upon which to admit or deny the allegations of this paragraph and therefore enters a

 formal denial and puts plaintiff to proof. Moreover, it appears the allegations of this paragraph

 are not directed toward these answering defendant.

       3.         Denied.

       4.         Denied.




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 WHEREFORE, this answering defendant demands judgment dismissing the Complaint and for

 such other relief as the Court deems to be just and equitable.



                                                FOX ROTHSCHILD LLP
                                                Attorneys for Defendant, AtlantiCare Regional
                                                Medical Center




                                                By:
                                                       Eric M. Wood, Esquire




                               FIRST AFFIRMATIVE DEFENSE

        Defendants hereby reserve the right to amend this Answer to assert additional Separate

 Defenses as revealed or suggested by the completion of on-going investigation and discovery.

                             SECOND AFFIRMATIVE DEFENSE

        At all times and places mentioned in the Complaint herein, the defendants violated no

 legal duty owing by defendants to plaintiff.

                               THIRD AFFIRMATIVE DEFENSE

        At all times and places mentioned in the Complaint, defendants neither committed any

 act nor made any omission in any way related to the subject matter of the within Complaint.

                             FOURTH AFFIRMATIVE DEFENSE

        Any and all damages alleged to have been suffered by plaintiff are not causally related to

 any act or omission alleged to be chargeable to defendants.




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                                FIFTH AFFIRMATIVE DEFENSE

         This defendants deny that the co-defendants or any of them are, at the time of the incident

 alleged in the Complaint, the agents, servants, or employees of this defendant.

                                SIXTH AFFIRMATIVE DEFENSE

         Any injury, damage or loss sustained by plaintiff was due to the acts or omissions of a

 third party over whom these defendants exercised no authority and had no control.

                             SEVENTH AFFIRMATIVE DEFENSE

         In the event damages should be awarded to plaintiff, they must be diminished by that

 percentage of plaintiff's own negligence pursuant to the terms and provisions of the Comparative

 Negligence Statute of the State of New Jersey, N.J.S.A. 2A:15-5.1 et seq.

                              EIGHTH AFFIRMATIVE DEFENSE

         This defendants include all separate defenses applicable to plaintiff which have been

 raised by any other co-defendant in the within matter as if fully set forth herein and makes the

 same, to such extent that it does not imply liability on the part of this defendant, jointly and

 severally, these defendants’ defenses.

                               NINTH AFFIRMATIVE DEFENSE

         This defendants deny committing any act of negligence or violating any duty owed to

 plaintiff.

                               TENTH AFFIRMATIVE DEFENSE

         Any conditions of which plaintiff complains or from which plaintiff presently suffers are

 unrelated to any of the incidents referred to in the Complaint, or to actions or treatments that

 were performed or ordered by defendant, either by causation, exacerbation, or both.




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                             ELEVENTH AFFIRMATIVE DEFENSE

         The defendants aver, with respect to any treatment proposed or rendered to the plaintiff,

 that it did exercise every degree of care requisite in any hospital-patient relationship, and that the

 plaintiff was informed of all information of which plaintiff should have been informed, and that

 in so informing the plaintiff, defendants acted within accepted standards recognized and

 followed by others in the same profession and specialty.

                              TWELFTH AFFIRMATIVE DEFENSE

         The defendants aver that whatever duties were required of defendant by and for plaintiff,

 that they were performed properly, and that defendants employed and demonstrated in

 performing such duties the requisite skill, discretion, and judgment in accordance with the

 accepted standards and practices recognized and followed by others of like profession and

 specialty.

                           THIRTEENTH AFFIRMATIVE DEFENSE

         Defendants demand credit for any and all payments by way of insurance or other medical

 benefits received by the plaintiff as against any award made to plaintiff as a result of this action.

                           FOURTEENTH AFFIRMATIVE DEFENSE

         Pursuant to R. 4:7-5, this defendant reserves the right to seek a credit reducing the

 amount of plaintiff's judgment, if any, to reflect the degree of fault allocated by the jury to any

 co-defendant, regardless of settlement by any co-defendant. These defendants assert that the

 liability of any settling co-defendant shall be an issue at the time of trial.

                             FIFTEENTH AFFIRMATIVE DEFENSE

         Plaintiff’s Complaint is barred by the Entire Controversy Doctrine.




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                              SIXTEENTH AFFIRMATIVE DEFENSE

           These defendants assert its right to a credit as to any other settling co-defendant or any

 other party in any other action with whom plaintiff settles or has settled.

                            SEVENTEENTH AFFIRMATIVE DEFENSE

           Although defendants deny any negligence in this matter, if defendant is found to have

 been negligent, such negligence was passive, imputed, and constructive, and the defendant

 cross-claims for indemnification from the defendant whose negligence was and is primary, actual

 and direct.

                             EIGHTEENTH AFFIRMATIVE DEFENSE

           The claims of the plaintiff herein are barred by the Statute of Limitations in such cases

 made and provided.

                             NINETEENTH AFFIRMATIVE DEFENSE

           Plaintiff’s condition is the direct and proximate result of the natural degenerative changes

 of the human body, and have (and would have) occurred despite any and all intervention,

 prescription and treatment, or lack thereof, by these defendants.

                             TWENTIETH AFFIRMATIVE DEFENSE

           This claim is barred or limited by the New Jersey Wrongful Death Act, N.J.S.A. 2A:3.1

 et seq.

                           TWENTY FIRST AFFIRMATIVE DEFENSE

           Any damages awarded against defendants, AtlantiCare Regional Medical Center are

 precluded or otherwise limited pursuant to N.J.S.A. 2A:53A-7.




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                         REQUEST FOR STATEMENT OF DAMAGES

        Pursuant to the provisions of R. 4:5-2, it is requested that within five days of service

 hereof, you furnish a written statement specifying the amount of damage claimed by the plaintiff

 in the above-entitled action.

                      NOTICE OF DESIGNATION OF TRIAL COUNSEL

        Pursuant to R. 4:25-4, Eric M. Wood, Esquire, is hereby designated as trial counsel.

                                      AFFIDAVIT OF MERIT

        Pursuant to N.J.S.A. 2A:53A-26, demand is made, here and now, for an Affidavit of Merit as

 to an individual competent to render an affidavit against a hospital and/or hospital system.

                JURY DEMAND AND NOTICE PURSUANT TO RULE 1:8(c)

        The answering defendant(s) demand a trial by jury on all issues so triable. Notice is

 hereby given that this demand shall continue and become effective upon the drawing of a jury of

 six persons and that the stipulation customarily deemed to have been agreed to pursuant to Rule

 1:8-2(c) is specifically rejected. Defendants hereby place on the record refusal to stipulation to a

 verdict by less than six jurors on any question before the jury.

                       NOTICE PURSUANT TO R. 1:5-1(a) and 4:17-4(c)

        Please take notice that the undersigned attorney does hereby demand, pursuant to the

 above cited Rules of Court that each party herein serving pleadings and interrogatories and

 receiving answers thereto, serve all copies of such pleadings and answered interrogatories, and




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 all documents, papers and other material referred to therein, received from any party, upon the

 undersigned attorney and take notice that this is a continuing demand.

                                                 FOX ROTHSCHILD LLP




                                                 By: ______________________________
                                                       Eric M. Wood, Esquire


 Dated: January 15, 2021


                           CERTIFICATION PURSUANT TO R. 4:5-1

         I certify that to the best of my knowledge there are no other pending actions or arbitration

 proceedings concerning the subject of this action, and that no such other actions or arbitration

 proceedings are contemplated at this time. I further certify that I know of no other persons who

 should be joined as parties in this action at this time.

                                                 FOX ROTHSCHILD LLP




                                                 By: ______________________________
                                                       Eric M. Wood, Esquire

 Dated: January 15, 2021




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 Eric M. Wood Attorney ID #022581990
 Epiphany McGuigan Attorney ID#045911883
 Attorneys for Defendant, AtlantiCare Regional Medical Center

                                                                SUPERIOR COURT OF NEW JERSEY
 LATIFAH DAVIS, Individually and as                                     LAW DIVISION
 Administratrix of the Estate of LEGEND                               ATLANTIC COUNTY
 JONES
                                                                  DOCKET NO.: ATL-L-4213-20
                                                Plaintiff,
                     vs.                                                CIVIL ACTION

 BLAIR A. BERGEN, M.D.; ATLANTICARE
 MATERNAL FETAL MEDICINE;                                        PROOF OF FILING AND SERVICE
 ATLANTICARE REGIONAL MEDICAL
 CENTER; JOHN DOES 1-110; ABC
 ENTITIES 1-10

                                              Defendants.



         I, Jo Ann Rowen, hereby certify as follows:

 1.        I am a legal administrative assistant at Fox Rothschild LLP, attorneys for defendant..

 2.     On January 15, 2021, I filed via eCourts Answer to Plaintiffs’ Complaint on behalf of
 defendant, AtlantiCare Regional Medical Center, to the Clerk of the Court at the Cape County
 Superior Court of New Jersey, and I served a copy on all counsel of record via eCourts.

        3.      I certify that the foregoing statements made by me are true. I am aware that if any of
the foregoing statements made by me are willfully false I am subject to punishment.




                                                       _____________________________________
                                                       Jo Ann Rowen




                                                          13
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 609-348-4515 (FAX: 609-348-6834)
 Eric M. Wood Attorney ID #022581990
 Epiphany McGuigan Attorney ID#045911883
 Attorneys for Defendant, AtlantiCare Regional Medical Center

                                                                SUPERIOR COURT OF NEW JERSEY
 LATIFAH DAVIS, Individually and as                                     LAW DIVISION
 Administratrix of the Estate of LEGEND                               ATLANTIC COUNTY
 JONES
                                                                  DOCKET NO.: ATL-L-4213-20
                                                Plaintiff,
                     vs.                                                CIVIL ACTION

 BLAIR A. BERGEN, M.D.; ATLANTICARE
 MATERNAL FETAL MEDICINE;                                            NOTICE TO PRODUCE
 ATLANTICARE REGIONAL MEDICAL
 CENTER; JOHN DOES 1-110; ABC
 ENTITIES 1-10

                                              Defendants.



 To:       David A. Mazie, Esquire
           Adam M. Epstein, Esquire
           Attorneys for Plaintiff

         Pursuant to the Rules of Court, the undersigned requests that you produce the following
 documents and other items for inspection and copying at the offices of Fox Rothschild LLP,
 1301 Atlantic Avenue, Midtown Building, Suite 400, Atlantic City, New Jersey, within 30 days.
 You may comply with this request by mailing legible copies of the documents. When used in
 this request, the word “you” refers to the party to whom this request is directed and that party’s
 attorneys.

        1.     All written or tape recorded statements of the party serving this request or of any
 agent or employee of the party serving this request.

        2.     All written evidence of any oral statements made by the party serving this request
 or by any agent or employee of the party serving this request.
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        3.      All written or tape recorded statements by any witnesses to the alleged negligence
 or malpractice of the party serving this request.

         4.     All documents that pertain to any treatment and tests that the plaintiff received for
 any injuries sustained as a result of the alleged negligence or malpractice of the party serving this
 request. This includes but is not limited to bills, hospital records, physicians’ records and notes,
 records of any diagnostic tests and procedures, and other medical records.

         5.     All charts, drawings, illustrations, photographs, films, videos, diagrams, and other
 documents that depict any person, place, object, or substance relevant to this action, or which
 depict any injuries or losses for which a claim is being asserted in this action, or which you
 intend to exhibit to the jury or introduce into evidence at the trial of this action.

         6.      All documents that pertain to the condition, disease, illness, or injury for which
 plaintiff was being treated or examined at the time when the alleged negligence of the party
 serving this request occurred. This includes but is not limited to bills, hospital records,
 physicians’ records and notes, records of any diagnostic tests and procedures, and other medical
 records.

        7.       All documents that you supplied to any experts who will be called as witnesses on
 your behalf at the trial of this action.

             8.   The written reports and records of all experts who you intend to call as witnesses
 at trial.

        9.      The records of all defendants to this action as they pertain to each defendant’s
 treatment or care of plaintiff at any time.

         10.     All interrogatories previously answered by any party in this action, and copies of
 the transcripts of all depositions previously taken in this action.

        11.     All medical records, reports, and bills pertaining to injuries that the plaintiff
 sustained in any prior or subsequent accident or incident.

         12.     All documents that relate in any way to any claim made by the plaintiff for
 medical coverage benefits relevant to this action, including but not limited to applications for
 benefits, correspondence to and from the insurance carrier, medical reports and bills supplied to
 the insurance carrier, wage and income information supplied to the insurance carrier, and the
 reports of any physicians who examined the plaintiff at the request of the insurance carrier.

        13.    Any documents that you receive pursuant to any subpoenas or authorizations in
 connection with this action.




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        14.    Each and every text, article and/or writing which you reserve the right to use for
 the examination or cross-examination of any witness at trial.

                                              FOX ROTHSCHILD LLP




                                              By: ______________________________
                                                    Eric M. Wood, Esquire

 Dated: January 15, 2021




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 Eric M. Wood Attorney ID #022581990
 Epiphany McGuigan Attorney ID#045911883
 Attorneys for Defendant, AtlantiCare Regional Medical Center

                                                                SUPERIOR COURT OF NEW JERSEY
 LATIFAH DAVIS, Individually and as                                     LAW DIVISION
 Administratrix of the Estate of LEGEND                               ATLANTIC COUNTY
 JONES
                                                                  DOCKET NO.: ATL-L-4213-20
                                                Plaintiff,
                     vs.                                                CIVIL ACTION

 BLAIR A. BERGEN, M.D.; ATLANTICARE
 MATERNAL FETAL MEDICINE;                                         SUPPLEMENTAL NOTICE TO
 ATLANTICARE REGIONAL MEDICAL                                            PRODUCE
 CENTER; JOHN DOES 1-110; ABC
 ENTITIES 1-10

                                              Defendants.



 To:       David A. Mazie, Esquire
           Adam M. Epstein, Esquire
           Attorneys for Plaintiff

         Pursuant to the Rules of Court, the undersigned requests that you produce the following
 documents and other items for inspection and copying at the offices of Fox Rothschild LLP,
 1301 Atlantic Avenue, Midtown Building, Suite 400, Atlantic City, New Jersey, within 30 days.
 You may comply with this request by mailing legible copies of the documents. When used in
 this request, the word “you” refers to the party to whom this request is directed and that party’s
 attorneys.

         1.        The reports of any and all physicians who have treated plaintiff at any time during
 plaintiff's life who are proposed expert witnesses for plaintiff, in the possession of plaintiff or
 plaintiff's attorney.

        2.      The originals of all x-ray, CAT scan, MRI, mammogram, and all other
 radiographic films relevant to this action.
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         3.      Any and all publications, texts, journals or reasonably reliable sources which
 plaintiff claims is relevant to any issue in this case and which plaintiff may use or does intend to
 use during direct or cross-examination of any expert witness or party.

        4.       Copies of all releases, covenants not to sue, and covenants not to execute given by
 any plaintiff to any person in connection with any injuries or losses for which damages are
 sought in this action.

        5.      All documents that evidence any economic losses sustained by any plaintiff and
 for which damages are sought in this action. This includes, but is not limited to bills, receipts,
 invoices, contracts, 1099 forms, W2 forms, pay stubs, bank account statements, profit and loss
 forms, applications, letters, notices, and all other types of documents that relate to any such loss.


                                                FOX ROTHSCHILD LLP




                                                By: ______________________________
                                                      Eric M. Wood, Esquire

 Dated: January 15, 2021




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 Fox Rothschild LLP
 formed in the Commonwealth of Pennsylvania
 1301 Atlantic Avenue
 Midtown Building, Suite 400
 Atlantic City, New Jersey 08401
 609-348-4515 (FAX: 609-348-6834)
 Eric M. Wood Attorney ID #022581990
 Epiphany McGuigan Attorney ID#045911883
 Attorneys for Defendant, AtlantiCare Regional Medical Center

                                                                SUPERIOR COURT OF NEW JERSEY
 LATIFAH DAVIS, Individually and as                                     LAW DIVISION
 Administratrix of the Estate of LEGEND                               ATLANTIC COUNTY
 JONES
                                                                  DOCKET NO.: ATL-L-4213-20
                                                Plaintiff,
                     vs.                                                CIVIL ACTION

 BLAIR A. BERGEN, M.D.; ATLANTICARE
 MATERNAL FETAL MEDICINE;                                         REQUEST FOR ANSWERS TO
 ATLANTICARE REGIONAL MEDICAL                                    UNIFORM INTERROGATORIES
 CENTER; JOHN DOES 1-110; ABC
 ENTITIES 1-10

                                              Defendants.



 To:       David A. Mazie, Esquire
           Adam M. Epstein, Esquire
           Attorneys for Plaintiff

           The undersigned demands, pursuant to R. 4:17-1(b) the plaintiff provide sworn or

 certified answers to the interrogatories set forth in Form A(1) and Form (A) of Appendix II of

 the Rules Governing the Courts of the State of New Jersey. In addition, the undersigned

 demands that the plaintiff provide sworn or certified answers to the supplemental interrogatories

 attached hereto pursuant to R. 4:17-1(b)(i). Please be advised that we will not accept answers to

 interrogatories propounded on behalf of other parties in lieu of specific answers to these

 interrogatories as they apply to our client(s).

           When used in these interrogatories (unless specifically noted otherwise), the words
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 "accident" and "incident" refer to the accident or incident that is the subject of this action. The

 words "you" and "your" refer to Latifah Davis.

                                                FOX ROTHSCHILD LLP




                                                By: ______________________________
                                                      Eric M. Wood, Esquire

 Dated: January 15, 2021




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         SUPPLEMENTAL INTERROGATORIES PURSUANT TO R. 4:17-1(B)(1)

         1.      For each expert witness you may call to testify at time of trial, set forth where and
 when your expert witness trained and obtained credentials in his particular area of expertise, and
 specifically in the areas relating to this case.

 ANSWER:




         2.    Identify and attach any and all literature or other type of research that has been
 reviewed and/or relied upon by any expert witness in formulating their opinions in the within
 matter.

 ANSWER:




          3.      If any of your expert witnesses intend on relying upon or using in any way at time
 of trial any literature and/or exhibits, identify the literature and/or exhibits by title, author and
 edition, and indicate the pertinent portions to be relied upon at time of trial.

 ANSWER:




        4.      Please provide a complete listing of all materials including, but not limited to
 radiographic studies or other diagnostic tests that each of your expert witnesses have reviewed in
 preparation of his or her report(s).

 ANSWER:




       5.       Please indicate whether plaintiff is a Medicare beneficiary or has received
 Medicare benefits in connection with any treatment he/she has received related to this claim; or
 whether plaintiff has been declared eligible for social security disability benefits.

 ANSWER:
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         6.      Please provide the names of all cases where each of your expert witnesses that
 you or your firm has consulted on behalf of your clients, or have testified at trial or deposition on
 behalf of you or your firm’s clients, the dates that the proceeding took place, the venue for that
 case and the attorney that he or she was retained by.

 ANSWER:




         7.     Please indicate whether or not any of your expert witnesses have ever been
 convicted of an indictable offense or had their privileges reviewed or suspended by any hospital
 or State agency.

 ANSWER:




        8.      Please identify any witnesses, and provide any and all facts that each witness
 possesses. Include specific reference to any materials in the event that any witness will rely
 upon said materials at the time of trial.

 ANSWER:




        9.       State, for each defendant, whether you contend that any written policy, procedure,
 protocol, or standard was violated with respect to the care and treatment of the plaintiff, and
 whether the violation caused or contributed to plaintiff’s alleged injuries.

 ANSWER:




         10.     If you contend that any of the parties named herein were agents, servants or
 employees of the party serving these interrogatories, provide a complete factual basis in support
 of those allegations.

 ANSWER:




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   CERTIFICATION TO FORM A AND FORM A(1) INTERROGATORY ANSWERS
        I certify that the Form A and Form A(1) answers to interrogatories are true to the best of

 my knowledge and belief. I am aware that if any of the foregoing answers to Form A and Form

 A(1) interrogatories are willfully false, I am subject to punishment.



 Dated: __________________                     ________________________________________
                                               LATIFAH DAVIS




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        CERTIFICATION TO SUPPLEMENTAL INTERROGATORY ANSWERS
        I certify that the foregoing supplemental answers to interrogatories are true to the best of

 my knowledge and belief. I am aware that if any of the foregoing supplemental answers to

 interrogatories are willfully false, I am subject to punishment.




 Dated: __________________                     ________________________________________
                                               LATIFAH DAVIS




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                  WRONGFUL DEATH INTERROGATORIES
           WHEN USED IN THE FOLLOWING INTERROGATORIES, THE
              WORD “DECEDENT” REFERS TO LEGEND JONES

 1.    State the decedent’s full name, residence address on the date of the accident, date of birth,
       and social security number.

       ANSWER:




 2.    Set forth the date when the decedent died. Attach legible copies of the death certificate
       and any autopsy reports.

       ANSWER:




 3.    State the names, current addresses, dates of birth, and relationship to the decedent of all
       persons who resided with the decedent on the date of the accident.

       ANSWER:




 4.    Set forth a chronological history of the decedent’s employment for the 10 years prior to
       the accident, including the names and addresses of all employers, a description of the
       decedent’s job duties and functions with each employer, and the decedent’s gross and net
       weekly pay with each employer.

       ANSWER:



 5.    Other than as set forth in your answers to the preceding interrogatory, did the decedent
       have any other sources of income during the 10 years prior to the accident? If so, state
       separately for each year a detailed description of the sources and amounts of all other
       income.


       ANSWER:


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 6.     Set forth a detailed itemization of the monthly amounts spent by or on behalf of the
        decedent for the decedent’s own maintenance and living expenses. Include all costs for
        food, clothing, recreation and hobbies, lodging, education, and personal expenses.

        ANSWER:




 7.     Set forth a detailed itemization of the decedent’s assets and liabilities as of the date of
        death.

        ANSWER:




 8.     Was the decedent’s life insured? If so, state the names and addresses of the insurance
        companies providing the insurance, and, for each, set forth the policy number, the face
        benefit amount of the policy, the named beneficiaries, and the owner of the policy.

        ANSWER:




 9.     As of the date of the accident, was the decedent receiving any unemployment benefits,
        disability benefits, social security benefits, or other similar types of benefits? If so,
        describe the types and monthly amounts of benefits that the decedent was receiving.

        ANSWER:



 10.    As of the date of the accident, was the decedent making or obligated to make any
        payments for alimony or child support? If so, set forth the type and monthly amounts of
        payments that the decedent was making or was obligated to make. Attach copies of any
        court orders or agreements for alimony or child support.



        ANSWER:


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 11.    Do you or your attorneys have copies of any federal or state income tax returns filed by
        the decedent during the 10 years prior to death? If so, attach complete copies of the
        returns, including all forms and schedules.

        ANSWER:




 12.    Describe all of the decedent’s hobbies and recreational activities. For each hobby and
        activity, how many hours per month did the decedent engage in it.

        ANSWER:




 13.    State the names, addresses, dates of birth, and telephone numbers of the decedent’s
        parents, siblings, and children.

        ANSWER:




 14.    State the names, addresses, dates of birth, and relationship to the decedent of all persons
        who were, as of the date of the accident, financially dependent on the decedent. For each
        such person, set forth the name and address of his or her employer and the amount of his
        or her gross weekly income from all sources.

        ANSWER:




 15.    State the names, addresses, dates of birth, and relationship to the decedent of all persons
        to whom the decedent provided any guidance, companionship, and advice. For each such
        person, describe the nature, extent, and frequency of the guidance, companionship, and
        advise that the decedent provided.

        ANSWER:



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 16.    Did the decedent smoke cigarettes or drink alcoholic beverages? If so, set forth how
        many packs of cigarettes the decedent smoked each day and the types and quantities of
        alcoholic beverages that the decedent drank.

        ANSWER:




 17.    Was the decedent ever convicted of any crimes? If so, set forth the dates of the
        convictions, the nature of the crimes that were the subject of convictions, and the names
        and address of the courts where the convictions were entered.

        ANSWER:




 18.    Describe the decedent’s educational background, including the names and addresses of
        all schools attended, the dates of graduation, and the degrees attained.

        ANSWER:




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       CERTIFICATION TO WRONGFUL DEATH INTERROGATORY ANSWERS
         I certify that the foregoing answers to interrogatories are true to the best of my

 knowledge and belief. I am aware that if any of the foregoing answers to interrogatories are

 willfully false, I am subject to punishment.



 Dated: __________________                      ___________________________________
                                                LATIFAH DAVIS
                                                Administratrix of the
                                                Estate of Legend Jones




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                        Civil Case Information Statement
 Case Details: ATLANTIC | Civil Part Docket# L-004213-20

Case Caption: DAVIS LATIFAH VS BERGEN, M.D. BLAIR                Case Type: MEDICAL MALPRACTICE
Case Initiation Date: 12/23/2020                                 Document Type: Answer
Attorney Name: ERIC M WOOD                                       Jury Demand: YES - 6 JURORS
Firm Name: FOX ROTHSCHILD LLP                                    Is this a professional malpractice case? NO
Address: 1301 ATLANTIC AVE SUITE 400                             Related cases pending: NO
ATLANTIC CITY NJ 084017212                                       If yes, list docket numbers:
Phone: 6093484515                                                Do you anticipate adding any parties (arising out of same
Name of Party: DEFENDANT : ATLANTICARE                           transaction or occurrence)? NO
REGIONALMEDICAL C
Name of Defendant’s Primary Insurance Company                    Are sexual abuse claims alleged by: LATIFAH DAVIS? NO

(if known): None
                                                                 Are sexual abuse claims alleged by: LATIFAH DAVIS? NO



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




 Do parties have a current, past, or recurrent relationship? NO
 If yes, is that relationship:
 Does the statute governing this case provide for payment of fees by the losing party? NO
 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:


 Do you or your client need any disability accommodations? NO
        If yes, please identify the requested accommodation:


 Will an interpreter be needed? NO
          If yes, for what language:


 Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




 I certify that confidential personal identifiers have been redacted from documents now submitted to the
 court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

 01/15/2021                                                                                               /s/ ERIC M WOOD
 Dated                                                                                                               Signed
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                             Exhibit 4
      ATL-L-004213-20 03/12/2021 3:06:26 PM Pg 1 of 12 Trans ID: LCV2021547987
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        David A. Mazie, Esq. (Attorney ID: 017941986)
        Adam M. Epstein, Esq. (Attorney ID: 027482010)
        MAZIE SLATER KATZ & FREEMAN, LLC
        103 Eisenhower Parkway
        Roseland, New Jersey 07068
        (973) 228-9898
        Attorneys for Plaintiff

         LATIFAH DAVIS, Individually and            SUPERIOR COURT OF NEW JERSEY
         as Administratrix of the Estate of         LAW DIVISION – ATLANTIC COUNTY
         LEGEND JONES,                              DOCKET NO.: ATL-L-4213-20

                     Plaintiff,                                    Civil Action

               vs.
                                                      FIRST AMENDED COMPLAINT AND
                                                              JURY DEMAND
         BLAIR A. BERGEN, M.D.; NICOLE
         M. SIEMS, D.O.; SOUTHERN
         JERSEY FAMILY MEDICAL
         CENTERS; ATLANTICARE
         PHYSICIANS GROUP
         OBSTETRICS & GYNECOLOGY;
         ATLANTICARE REGIONAL
         MEDICAL CENTER;
         JOHN DOES 1-10; ABC ENTITIES
         1-10,

                         Defendants.




               Plaintiff Latifah Davis (“Davis”), residing at 400 North Indiana Avenue, Atlantic

        City, New Jersey, by way of Complaint against the defendants, says as follows:

                                                  FIRST COUNT
               1.        At all times relevant herein, defendant Blair A. Bergen, M.D. (“Dr. Bergen”)

        was a physician duly licensed to practice medicine in the State of New Jersey, holding

        himself out as a specialist in Obstetrics and Gynecology, and working at Atlanticare

        Physicians Group Obstetrics & Gynecology, Southern Jersey Family Medical Centers and

        Atlanticare Regional Medical Center.
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                2.      At all times relevant herein, defendant Nicole M. Siems, D.O. (“Dr. Siems”)

        was a physician duly licensed to practice medicine in the State of New Jersey, holding herself

        out as a specialist in Obstetrics and Gynecology, and working at both Atlanticare Physicians

        Group Obstetrics & Gynecology and Atlanticare Regional Medical Center.

                3.      At all times relevant herein, Southern Jersey Family Medical Centers

        (“SJFMC”) are qualified healthcare centers maintaining a principal place of business at the

        Women and Children’s Health Pavilion, 1125 Atlantic Avenue in Atlantic City, New Jersey.

                4.      At all times relevant, Atlanticare Physicians Group Obstetrics & Gynecology

        is a healthcare center providing obstetrics and gynecological care throughout southern New

        Jersey, with offices located throughout the state, including but not limited to at 54 West

        Jimmie Leeds Road in Galloway, New Jersey.

                5.      Atlanticare Regional Medical Center Mainland Campus (“Atlanticare”) is a

        hospital providing patients with a wide range of medical services, including but not limited

        to birth and delivery. Atlanticare’s principal place of business is located at 65 Jimmie Leeds

        Road in Pomona, New Jersey.

                6.      At all times relevant herein defendant, John Does 1-10 were doctors, nurses,

        assistants and/or other medical professionals on the dates at issue involved in the treatment

        and care of Plaintiff.

                7.      At all times relevant herein defendants, ABC Corps. 1-10 were entities which

        employed or were affiliated with any defendant in this matter.

                8.      Davis treated with Dr. Bergen throughout the course of her pregnancy, seeing

        Dr. Bergen for checkups as scheduled.
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                9.     Davis was admitted to Atlanticare for delivery of her baby on February 16,

        2020.

                10.    Davis, along with Dr. Bergen and Dr. Siems, discussed the plan for inducing

        labor which included the use of Cytotec (a/k/a misoprostol). Neither Dr. Bergen, Dr. Siems

        nor any other doctor, nurse or staff member advised Davis of any risks of using Cytotec to

        induce labor. In particular, Dr. Bergen, Dr. Siems nor any other doctor, nurse or staff

        member advised Davis that the Food & Drug Administration (“FDA”) had warned against

        using Cytotec to assist in the induction of labor.

                11.    On February 16, 2020 at approximately 7:15 a.m., Cytotec was placed

        vaginally in Ms. Davis at the direction and/or instruction of Dr. Bergen and/or Dr. Siems.

                12.    At approximately 9:15 a.m., Dr. Bergen was called by a nurse to inform him

        of fetal bradycardia in Ms. Davis’s baby, Legend Jones, after Ms. Davis sustained a ruptured

        membrane with thin meconium fluid.

                13.    An emergency cesarean section was subsequently called for fetal distress and

        vaginal bleeding, as well as possible placenta abruption.

                14.    An emergency cesarean section and hysterectomy were performed at

        approximately 9:31 a.m.

                15.    Unfortunately, upon delivery it was apparent that the baby had suffered

        significant damages. Legend Jones’ Apgar score at one minute was 0, at five minutes was

        0, at ten minutes was 1, and at twenty minutes was 2.

                16.    On February 16, 2020 at approximately 6:20 p.m., Legend Jones died.

                17.    Defendants Dr. Bergen, Dr. Siems and John Does 1-10 failed to exercise the

        degree of care commonly exercised by other medical and/or healthcare professionals in like
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        cases having due regard to the existing state of knowledge of medicine. Specifically,

        defendants misused Cytotec to induce Ms. Davis, and additionally failed to warn her of the

        following FDA alert regarding Misoprostol (marketed as Cyotec), which had been in

        existence since July 10, 2015:

                         “FDA Alert – Risks of Use in Labor and Delivery.

                         This Patient Information Sheet is for pregnant women who
                         may receive misoprostol to soften their cervix or induce
                         contractions to begin labor. Misoprostol is sometimes used
                         to decrease blood loss after delivery of a baby. These uses
                         are not approved by the FDA. No company has sent the FDA
                         scientific proof that misoprostol is safe and effective for
                         these uses.

                         There can be serious side effects, including a torn uterus
                         (womb), when misoprostol is used for labor and delivery. A
                         torn uterus may result in severe bleeding, having the uterus
                         removed (hysterectomy), and death of the mother or baby.
                         These side effects are more likely in women who have had
                         previous uterine surgery, a previous Cesarean delivery (C-
                         section), or several previous births.”

                18.      Defendants Dr. Bergen, Dr. Siems and John Does 1-10 were negligent, inter

        alia:

                •     for using Cytotec to induce labor;

                •     for failing to advise/improperly advising Ms. Davis that it was appropriate to
                      use Cytotec to induce her labor; and

                •     for failing to properly and timely monitor Ms. Davis and Legend Jones’s vital
                      signs.

                19.      As a direct and proximate result of defendants’ malpractice, Legend Jones

        experienced great pain, suffering and permanent injury, ultimately resulting in his untimely

        death. Plaintiff seeks recovery against Defendants Dr. Bergen, Dr. Siems and John Does 1-

        10 of all damages permitted pursuant to the New Jersey Wrongful Death Act and the New
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        Jersey Survivor’s Act, including but not limited to all physical and emotional injuries

        suffered by Legend Jones prior to his death.

                WHEREFORE, plaintiff Latifah Davis as Administatrix of the Estate of Legend

        Jones demands judgment against defendants Blair A. Bergen, M.D., Nicole M. Siems, D.O.

        and John Does 1-10 for compensatory damages, attorney’s fees, interest, costs of suit and

        for such other relief as the Court deems equitable and just.

                                             SECOND COUNT

                1.      Plaintiff repeats and realleges the allegations heretofore plead.

                2.      Plaintiff Latifah Davis was present and witnessed Dr. Bergen’s, Dr. Siems’

        and John Does 1-10’s malpractice and its resulting injury to her baby. Ms. Davis had

        specifically requested that Cytotec not be used to induce labor beforehand, but her requests

        were ignored, and she was told that this was the only medication that they were going to use

        to induce her. Ms. Davis was aware at the time of these events that there remained the risks

        associated with Cytotec and that the treatment provided to her baby and herself fell below

        the acceptable standards of care.

                3.      As a result of witnessing and experiencing this malpractice, Ms. Davis has

        suffered significant and permanent psychological injuries.

                WHEREFORE, plaintiff Latifah Davis demands judgment against defendants Blair

        A. Bergen, M.D., Nicole M. Siems, D.O. and John Does 1-10 for compensatory damages,

        interest, attorney’s fees, costs and such other relief as the Court seems equitable and just.

                                              THIRD COUNT

                1.      Plaintiff Latifah Davis repeats and realleges the allegations heretofore plead

        as if fully set forth herein.
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               2.      Defendants Dr. Bergen, Dr. Siems and John Does 1-10 had a duty to fully

        explain to Ms. Davis all risks, benefits and alternatives to using Cytotec to induce Ms. Davis

        into labor for the delivery of her baby, Legend Jones. Dr. Bergen and/or Dr. Siems failed to

        discuss any risks, benefits or alternatives to using Cytotec, thereby breaching his duty of

        informed consent.

               3.      Specifically, Dr. Bergen, Dr. Siems and John Does 1-10 failed to inform Ms.

        Davis that Cytotec was contraindicated for inducing labor, that there was a risk of a torn

        uterus and a possible hysterectomy if it was administered, and they failed to inform her of

        all known complications of using Cytotec to induce labor. In this instance, Ms. Davis

        endured a torn uterus, a hysterectomy and the loss of her child after Dr. Bergen, Dr. Siems

        and/or John Does 1-10 used Cytotec to induce labor.

               4.      Had Dr. Bergen, Dr. Siems and/or John Does 1-10 properly advised Latifah

        Davis of the risks, benefits and alternatives concerning the use of Cytotec, plaintiff (and a

        reasonable patient) would not have consented to the use of Cytotec and instead would have

        demanded that an FDA approved medication be used.

               5.      As a direct and proximate result of the breach of informed consent, plaintiff

        has suffered damages.

               WHEREFORE, Latifah Davis, both individually and as Administratrix of the Estate

        of Legend Jones, demands judgment against defendant Blair A. Bergen, M.D., Nicole M.

        Siems, D.O. and John Does 1-10 for compensatory damages, interests, attorneys’ fees, costs

        and such other relief as the Court seems equitable and just.
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                                             FOURTH COUNT

                1.      Plaintiff Latifah Davis repeats and realleges the allegations heretofore plead

        as if fully set forth herein.

                2.      As a result of the negligence of Dr. Bergen, Dr. Siems and John Does 1-10,

        Latifah Davis suffered severe injuries, including but not limited to a torn uterus and a

        hysterectomy, pain and suffering, disability, impairment, loss of enjoyment to life, emotional

        distress, and suffered economic damages including but not limited to medical bills and

        expenses, and loss of income for the rest of her life.

                WHEREFORE, plaintiff Latifah Davis demands judgment against defendants Blair

        A. Bergen, M.D., Nicole M. Siems, D.O. and John Does 1-10 for compensatory damages,

        interest, attorney’s fees, costs and such other relief as the Court seems equitable and just.

                                              FIFTH COUNT

                1.      Plaintiff Latifah Davis repeats and realleges the allegations heretofore plead

        as if fully set forth herein.

                2.      At all times relevant, defendants Dr. Bergen, Dr. Siems and John Does 1-10

        are/were employees, agents, and/or servants of defendants Atlanticare Physicians Group

        Obstetrics & Gynecology, Southern Jersey Family Medical Centers, Atlanticare Regional

        Medical Center Mainland Campus and/or ABC Corps. 1-10.                 Therefore, defendants

        Atlanticare Physicians Group Obstetrics & Gynecology, Southern Jersey Family Medical

        Centers, Atlanticare Regional Medical Center Mainland Campus and/or ABC Corps. 1-10

        are liable for the negligence of Dr. Bergen, Dr. Siems and John Does 1-10 and the failure to

        provide informed consent pursuant to the doctrine of respondeat superior/agency/apparent

        agency.
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                WHEREFORE, plaintiff demands judgment against defendants Atlanticare

        Physicians Group Obstetrics & Gynecology, Southern Jersey Family Medical Centers,

        Atlanticare Regional Medical Center Mainland Campus and/or ABC Corps. 1-10 for

        compensatory damages, interest, attorney’s fees, costs and such other relief as the Court

        seems equitable and just.

                                              FIFTH COUNT

                1.      Plaintiff Latifah Davis repeats and realleges the allegations heretofore plead

        as if fully set forth herein.

                2.      Defendants, Dr. Bergen, Dr. Siems and/or John Does 1-10 knew and were

        actually aware of the fact that there was significant danger of using Cytotec to induce Ms.

        Davis’s labor, as opposed to other labor inducing medications, but did so nonetheless. In

        fact, defendants knew and were fully aware of the fact that Cytotec was not approved by the

        FDA for the purpose of inducing labor, and that the FDA warned that Cytotec may cause the

        same complications that plaintiffs suffered if used for the purpose of inducing labor.

                3.      Defendants’ actions were wanton, willful and with reckless disregard for the

        health, safety and well-being of both Latifah Davis and her baby, Legend Jones.

                4.      Defendants’ callous acts warrant an award of punitive damages.

                WHEREFORE, plaintiff demands judgment against defendants Blair A. Bergen,

        M.D., Nicole M. Siems, D.O. and/or John Does 1-10 for compensatory damages, punitive

        damages, interest, attorney’s fees, costs and such other relief as the Court seems equitable

        and just.
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                                                JURY DEMAND

                  Please take notice that the plaintiffs demand a trial by jury as to all issues in the

        above matter.

                                   DESIGNATION OF TRIAL COUNSEL

                  David A. Mazie, Esq. is hereby designated as trial counsel in the above captioned

        matter.

                                  DEMAND FOR MEDICAL SPECIALTY

                  Pursuant to R. 4:5-3, provide the exact field of medicine you were practicing at the

        time of the alleged malpractice, and whether your treatment of the plaintiff involved that

        specialty.

                                   DEMAND FOR INSURANCE COVERAGE

                  In accordance with R. 4:10-2, defendants are demanded to provide a complete copy

        of all applicable insurance policies and declaration sheets demonstrating coverage within

        thirty (30) days of service of this Complaint.

                                           DISCOVERY DEMANDS

                  Plaintiff hereby demands that each defendant serve certified answers to Form C and

        Form C(3) Interrogatories within thirty (30) days of service of this Complaint. Plaintiff

        further demands that each defendant produce complete copies of the following documents

        within 30 days of service of the Complaint:

                         1.       True copies or original of all medical reports or
                  records in the possession of the defendants with regard to any medical
                  condition or illness, at any time, of plaintiff.
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                     2.      True copies or original of all photographs, videos,
             charts, or diagrams in the possession of the defendants or under
             defendants’ control regarding any matter relevant to the subject
             matter of this case.

                     3.      True copies or originals of any statements (written,
             oral or recorded), in the possession or control of the defendants from
             any party or witness regarding any matter relevant to the subject
             matter of this case.

                    4.      True copies or original of all documents in the
             possession of the defendants which support any defense or cross-
             claim being asserted by the defendants in the within litigation.

                     5.        True copies of any documents which defendants may
             utilize at trial, either as an exhibit marked for identification, cross-
             examination or as evidence.

                     6.     True copies or originals of all contracts or agreements
             between defendants and any other individuals, entities or other
             defendants, which touch on or relate to any matter relevant to the
             subject matter of this case.

                     7.      Provide original or true copies of each and every
             learned treatise, article, or any other scholarly or informational matter
             which defendants may utilize at the trial of this case either for use in
             defendants' case in chief, on cross-examination, on rebuttal, or at any
             other stage of the trial of this case.

                    8.     Provide original or true copy of each and every
             statement given by plaintiff, at any time, either written or recorded.

                     9.      Provide original or true copy of any and all discovery
             material with regard to any accident, injury, or lawsuit involving
             plaintiff, including but not limited to answers to interrogatories,
             deposition transcripts, and admissions.

                    10.    Produce copies of all correspondence between
             defendants and any anyone else regarding the treatment of plaintiff.

                     11.       True copies or original of any and all communications
             between defendants and any other individuals involved in the treatment
             of the plaintiff.
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                     12.    True copies or original of any communications between
             defendants and any other entity regarding any matter relevant to the
             subject matter of this case.

                     13.    True copies of any documents in defendants’
             possession with regard to the criminal history of any party, witness,
             or person with knowledge relevant to this action.

                    14.    Copies of all reports or documents received from the
             Central Index Bureau (CIB) with regard to the plaintiff, decedent or
             defendant.

                    15.     A transcription of any handwritten office notes or
             treatment record maintained by defendant.

                    16.    Copies of all insurance policies (primary and excess)
             they may provide coverage for the allegations made in this Complaint.

                     17.    Copies of all pleadings, deposition transcripts, trial
             transcripts and discovery responses related to any other medical
             malpractice action where you were a defendant.

                     18.     The complete electronic records, documents, and
             information with regard to the plaintiff, or the plaintiff’s medical care,
             regardless of how titled, described, or categorized, including but not
             limited to, (1) medical records including but not limited to progress
             notes, nursing records, laboratory testing, and imaging, (2), orders,
             (3) documentation of who was involved in any way, and when that
             occurred, (4) financial information, (5) charge sheets, and (6) legal
             records or notes. Produce in hard copy and native, electronic format.

                    19.     True copies of any contracts of employment involving
             Dr. Blair A. Bergen from January 1, 2010 to present.

                    20.    True copies of any contracts of employment involving
             Dr. Nicole M. Siems from January 1, 2010 to present.

                     21.    Billing records for all Cytotec (misoprostol) usage in
             patients from January 1, 2010 through present.

                    22.    Billing records for all medications used to induce labor
             besides Cytotec (misoprostol) in patient from January 1, 2010.

                    23.     True copies or original of any and all internal memos,
             notes, policies and/or procedures regarding the use of Cytotec
             (misoprostol) for inducing labor.
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                     24.    True copies or originals of any and all notices from the
               FDA regarding the use of Cytotec from any organization.


                                              MAZIE SLATER KATZ & FREEMAN, LLC
                                              Attorneys for Plaintiff



                                              BY:     /s/ Adam M. Epstein
                                                      ADAM M. EPSTEIN
        Dated: March 9, 2021


                                     RULE 4:5-1 CERTIFICATION

               I hereby certify that to the best of my knowledge the matter in controversy is not

        the subject of any other action pending in any Court or of a pending arbitration proceeding.

        I do not know of any other parties who should be joined in this action at this time.

               I hereby certify that the foregoing statements made by me are true. I am aware that

        if the statements made by me are willfully false, I am subject to punishment.



                                              MAZIE SLATER KATZ & FREEMAN, LLC
                                              Attorneys for Plaintiff



                                              BY:     /s/ Adam M. Epstein
                                                       ADAM M. EPSTEIN
        Dated: March 9, 2021
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                             Exhibit 5
      ATL-L-004213-20 04/05/2021 12:59:49 PM Pg 1 of 2 Trans ID: LCV2021882780
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                             Exhibit 6
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 Attorneys for United States

  LATIFAH DAVIS, Individually and          SUPERIOR COURT OF NEW JERSEY
  as Administratrix of the Estate of       LAW DIVISION, CIVIL PART
  LEGEND JONES,                            ATLANTIC COUNTY

                Plaintiff,                 Docket No. ATL-L-4213-20

         v.

  BLAIR A. BERGEN, M.D.; NICOLE            NOTICE OF THE UNITED STATES
  M. SIEMS, D.O.; SOUTHERN                 UNDER 42 U.S.C. § 233(l)(1)
  JERSEY FAMILY MEDICAL
  CENTERS; ATLANTICARE
  PHYSICIANS GROUP OBSTETRICS
  & GYNECOLOGY; ATLANTICARE
  REGIONAL MEDICAL CENTER;
  JOHN DOES 1-10; ABC ENTITIES
  1-10,

                Defendants.

       The United States of America, by its attorneys, Rachael A. Honig, Acting

 United States Attorney for the District of New Jersey and John F. Basiak Jr.,

 Assistant United States Attorney (appearing), provide the following notice under 42

 U.S.C. § 233(l)(1):

       1.     The U.S. Department of Health and Human Services (“HHS”) notified

 this office on April 13, 2021, of this state court action against defendants Southern

 Jersey Family Medical Centers, Blair A. Bergen, M.D., and Nicole M. Siems, D.O.


                                           1
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 Southern Jersey Family Medical Centers is a public or non-profit private entity

 receiving federal funds under section 254b of the Federally Supported Health

 Centers Assistance Act (“FSHCAA”), 42 U.S.C. § 233(g)-(n), and an entity described

 in 42 U.S.C. § 233(g)(4). Dr. Bergen and Dr. Siems are alleged to have been

 “working at” Southern Jersey Family Medical Centers during the time alleged in

 the amended complaint.

       2.     Under 42 U.S.C. § 233(l)(1), the United States is appearing for the

 limited purpose of notifying the Court as to whether the Secretary of HHS has

 advised that Southern Jersey Family Medical Centers or any of the persons named

 above have been “deemed” to be an “employee of the Public Health Service”

 regarding the actions or omissions that are the subject of this civil action.

       3.     At present, HHS has advised that only Southern Jersey Family

 Medical Centers has been “deemed to be an employee of the Public Health Service.”

 HHS has not yet provided its report as to whether the deemed status of Southern

 Jersey Family Medical Centers extends to Blair A. Bergen, M.D., Nicole M. Siems,

 D.O., or any other individual defendant under 42 U.S.C. §§ 233(g) and (h) for the

 acts or omissions that are the subject of this civil action. See 28 C.F.R. § 15.3

 (requiring HHS to provide a report to the United States Attorney’s Office).

       4.     Once HHS completes its review and provides its report, the United

 States Attorney, as the United States Attorney General’s delegate, will determine

 whether the acts alleged in the amended complaint fall within the scope of 42

 U.S.C. § 233(a), the applicable provisions of the FSHCAA, and were otherwise



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 within the scope of Southern Jersey Family Medical Center’s or the individuals’

 “deemed” employment. See 42 U.S.C. § 233(c); 28 C.F.R. § 15.4(b) (removal and

 defense of suits by United States Attorney); 60 Fed. Reg. 22,531.

       5.     HHS has not yet provided the United States Attorney with sufficient

 information to make that determination. If any of the above-named defendants are

 determined to have been deemed employees of the Public Health Service for

 purposes of the acts or omissions giving rise to this suit, and that they were acting

 within the scope of their deemed employment, it is anticipated that this action will

 be removed to federal court under 28 U.S.C. § 233(c).

                                                Respectfully submitted,

                                                RACHAEL A. HONIG
                                                Acting United States Attorney


                                         By:    /s/ John F. Basiak Jr.
                                                JOHN F. BASIAK JR.
                                                Assistant U.S. Attorney
                                                Attorneys for United States

 Dated: April 27, 2021




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                             Exhibit 7
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 Eric M. Wood Attorney ID #022581990
 Epiphany McGuigan Attorney ID#045911883
 Attorneys for Defendant AtlantiCare Physicians Group OB/GYN
 and AtlantiCare Regional Medical Center

                                                               SUPERIOR COURT OF NEW JERSEY
 LATIFAH DAVIS, Individually and as                                    LAW DIVISION
 Administratrix of the Estate of LEGEND                              ATLANTIC COUNTY
 JONES
                                                                 DOCKET NO.: ATL-L-4213-20
                                                Plaintiff,
                     vs.                                               CIVIL ACTION

 BLAIR A. BERGEN, M.D.; NICOLE SIEMS,
 DO; SOUTHERN JERSEY FAMILY                                   DEFENDANTS, ATLANTICARE
 MEDICAL CENTERS; ATLANTICARE                               PHYSICIANS GROUP OB/GYN AND
 PHYSICIANS GROUP OBSTETRICS AND                           ATLANTICARE REGIONAL MEDICAL
 GYNECOLOGY; ATLANTICARE                                    CENTER, ANSWER TO PLAINTIFFS’
 MATERNAL FETAL MEDICINE;                                     FIRST AMENDED COMPLAINT,
 ATLANTICARE REGIONAL MEDICAL                              AFFIRMATIVE DEFENSES, REQUEST
 CENTER; JOHN DOES 1-110; ABC                                FOR STATEMENT OF DAMAGES,
 ENTITIES 1-10                                             NOTICE OF DESIGNATION OF TRIAL
                                                            COUNSEL, JURY DEMAND, NOTICE
                                              Defendants. PURSUANT TO R. 1:5-1(A) AND 4:17-4(C)
                                                                   AND CROSSCLAIM


           NOW COMES the defendants, AtlantiCare Physicians Group OB/GYN and AtlantiCare

 Regional Medical Center, by way of Answer to Plaintiffs’ Complaint, says:

                                                 FIRST COUNT

        1.           Admitted

        2.           It is admitted that Dr. Siems is a licensed physician. The remaining portion of the

 allegations are denied.

        3.           Admitted

        4.           Denied.
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      5.        Admitted.

      6.        Upon the advice of counsel, these answering defendants presently have

 insufficient information upon which to admit or deny the allegations of this paragraph and

 therefore enters a formal denial and puts plaintiff to proof. Moreover, it appears the allegations

 of this paragraph are not directed toward these answering defendants.

      7.        Upon the advice of counsel, these answering defendants presently have

 insufficient information upon which to admit or deny the allegations of this paragraph and

 therefore enters a formal denial and puts plaintiff to proof. Moreover, it appears the allegations

 of this paragraph are not directed toward these answering defendants.

      8.        Upon the advice of counsel, these answering defendants presently have

 insufficient information upon which to admit or deny the allegations of this paragraph and

 therefore enters a formal denial and puts plaintiff to proof. Moreover, it appears the allegations

 of this paragraph are not directed toward these answering defendants.

      9.        Upon the advice of counsel, these answering defendants presently have

 insufficient information upon which to admit or deny the allegations of this paragraph and

 therefore enters a formal denial and puts plaintiff to proof. Moreover, it appears the allegations

 of this paragraph are not directed toward these answering defendants.

     10.        Upon the advice of counsel, these answering defendants presently have

 insufficient information upon which to admit or deny the allegations of this paragraph and

 therefore enters a formal denial and puts plaintiff to proof. Moreover, it appears the allegations

 of this paragraph are not directed toward these answering defendants.

     11.        Upon the advice of counsel, these answering defendants presently have

 insufficient information upon which to admit or deny the allegations of this paragraph and



                                                  2
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 therefore enters a formal denial and puts plaintiff to proof. Moreover, it appears the allegations

 of this paragraph are not directed toward these answering defendants.

     12.        Upon the advice of counsel, these answering defendants presently have

 insufficient information upon which to admit or deny the allegations of this paragraph and

 therefore enters a formal denial and puts plaintiff to proof. Moreover, it appears the allegations

 of this paragraph are not directed toward these answering defendants.

     13.        Upon the advice of counsel, these answering defendants presently have

 insufficient information upon which to admit or deny the allegations of this paragraph and

 therefore enters a formal denial and puts plaintiff to proof. Moreover, it appears the allegations

 of this paragraph are not directed toward these answering defendants.

     14.        Upon the advice of counsel, these answering defendants presently have

 insufficient information upon which to admit or deny the allegations of this paragraph and

 therefore enters a formal denial and puts plaintiff to proof. Moreover, it appears the allegations

 of this paragraph are not directed toward these answering defendants.

     15.        Upon the advice of counsel, these answering defendants presently have

 insufficient information upon which to admit or deny the allegations of this paragraph and

 therefore enters a formal denial and puts plaintiff to proof. Moreover, it appears the allegations

 of this paragraph are not directed toward these answering defendants.

     16.        Upon the advice of counsel, these answering defendants presently have

 insufficient information upon which to admit or deny the allegations of this paragraph and

 therefore enters a formal denial and puts plaintiff to proof. Moreover, it appears the allegations

 of this paragraph are not directed toward these answering defendants.




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      17.        Upon the advice of counsel, these answering defendants presently have

  insufficient information upon which to admit or deny the allegations of this paragraph and

  therefore enters a formal denial and puts plaintiff to proof. Moreover, it appears the allegations

  of this paragraph are not directed toward these answering defendants.

      18.        Upon the advice of counsel, these answering defendants presently have

  insufficient information upon which to admit or deny the allegations of this paragraph and

  therefore enters a formal denial and puts plaintiff to proof. Moreover, it appears the allegations

  of this paragraph are not directed toward these answering defendants.

      19.        Denied.

         WHEREFORE, these answering defendants demand judgment dismissing the Complaint

  and for such other relief as the Court deems to be just and equitable.

                                         SECOND COUNT

       1.        These answering defendants repeat and incorporate herein by reference each and

  every answer to the preceding paragraphs of the Complaint.

       2.        Upon the advice of counsel, these answering defendants presently have

  insufficient information upon which to admit or deny the allegations of this paragraph and

  therefore enters a formal denial and puts plaintiff to proof. Moreover, it appears the allegations

  of this paragraph are not directed toward these answering defendants.

       3.        Upon the advice of counsel, these answering defendants presently have

  insufficient information upon which to admit or deny the allegations of this paragraph and

  therefore enters a formal denial and puts plaintiff to proof. Moreover, it appears the allegations

  of this paragraph are not directed toward these answering defendants.

         WHEREFORE, these answering defendants demand judgment dismissing the Complaint

  and for such other relief as the Court deems to be just and equitable.

                                                   4
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                                          THIRD COUNT

       1.        These answering defendants repeat and incorporate herein by reference each and

  every answer to the preceding paragraphs of the Complaint.

       2.        Upon the advice of counsel, these answering defendants presently have

  insufficient information upon which to admit or deny the allegations of this paragraph and

  therefore enters a formal denial and puts plaintiff to proof. Moreover, it appears the allegations

  of this paragraph are not directed toward these answering defendants.

       3.        Upon the advice of counsel, these answering defendants presently have

  insufficient information upon which to admit or deny the allegations of this paragraph and

  therefore enters a formal denial and puts plaintiff to proof. Moreover, it appears the allegations

  of this paragraph are not directed toward these answering defendants.

       4.        Upon the advice of counsel, these answering defendants presently have

  insufficient information upon which to admit or deny the allegations of this paragraph and

  therefore enters a formal denial and puts plaintiff to proof. Moreover, it appears the allegations

  of this paragraph are not directed toward these answering defendants.

       5.        Denied.

         WHEREFORE, these answering defendants demand judgment dismissing the Complaint

  and for such other relief as the Court deems to be just and equitable.

                                         FOURTH COUNT

       1.        These answering defendants repeat and incorporates herein by reference each and

  every answer to the preceding paragraphs of the Complaint.

       2.        Upon the advice of counsel, these answering defendants presently have

  insufficient information upon which to admit or deny the allegations of this paragraph and




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  therefore enters a formal denial and puts plaintiff to proof. Moreover, it appears the allegations

  of this paragraph are not directed toward these answering defendants.

            WHEREFORE, these answering defendants demand judgment dismissing the Complaint

  and for such other relief as the Court deems to be just and equitable.

                                           FIFTH COUNT

       1.         These answering defendants repeat and incorporate herein by reference each and

  every answer to the preceding paragraphs of the Complaint.

       2.         Denied. Dr. Bergen and Dr. Siems were employed by South Jersey Family

  Medical Center through a contract to treat their patients.

            WHEREFORE, these answering defendants demand judgment dismissing the Complaint

  and for such other relief as the Court deems to be just and equitable.

                SIXTH COUNT IMPROPERLY IDENTIFIED AS FIFTH COUNT

       1.         These answering defendants repeat and incorporates herein by reference each and

  every answer to the preceding paragraphs of the Complaint.

       2.         Upon the advice of counsel, these answering defendants presently have

  insufficient information upon which to admit or deny the allegations of this paragraph and

  therefore enters a formal denial and puts plaintiff to proof. Moreover, it appears the allegations

  of this paragraph are not directed toward these answering defendants.

       3.         Denied.

       4.         Denied.




                                                   6
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         WHEREFORE, these answering defendants demand judgment dismissing the Complaint

  and for such other relief as the Court deems to be just and equitable.

                 CROSS-CLAIM FOR COMMON LAW INDEMNIFICATION


         If defendants, AtlantiCare Physicians Group OB/GYN and AtlantiCare Regional Medical

  Center, are guilty of negligence or otherwise liable to the plaintiff in any sum whatsoever, which

  fact is denied, co-defendants, Blair A. Bergen, M.D., Nicole Siems, D.O., and Southern Jersey

  Family Medical Centers are liable to indemnify and completely save harmless defendants,

  AtlantiCare Physicians Group OB/GYN and AtlantiCare Regional Medical Center, under

  common law principles of indemnity and under contract express and implied.

                                                 FOX ROTHSCHILD LLP
                                                 Attorneys for Defendants, AtlantiCare Physicians
                                                 Group OB/GYN and AtlantiCare Regional Medical
                                                 Center




                                                 By:
                                                       Eric M. Wood, Esquire




                                FIRST AFFIRMATIVE DEFENSE

         Defendants hereby reserve the right to amend this Answer to assert additional Separate

  Defenses as revealed or suggested by the completion of on-going investigation and discovery.

                              SECOND AFFIRMATIVE DEFENSE

         At all times and places mentioned in the Complaint herein, the defendants violated no

  legal duty owing by defendants to plaintiff.




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                                THIRD AFFIRMATIVE DEFENSE

         At all times and places mentioned in the Complaint, defendants neither committed any

  act nor made any omission in any way related to the subject matter of the within Complaint.

                               FOURTH AFFIRMATIVE DEFENSE

         Any and all damages alleged to have been suffered by plaintiff are not causally related to

  any act or omission alleged to be chargeable to defendants.

                                 FIFTH AFFIRMATIVE DEFENSE

         This defendants deny that the co-defendants or any of them are, at the time of the incident

  alleged in the Complaint, the agents, servants, or employees of this defendant.

                                 SIXTH AFFIRMATIVE DEFENSE

         Any injury, damage or loss sustained by plaintiff was due to the acts or omissions of a

  third party over whom these defendants exercised no authority and had no control.

                              SEVENTH AFFIRMATIVE DEFENSE

         In the event damages should be awarded to plaintiff, they must be diminished by that

  percentage of plaintiff's own negligence pursuant to the terms and provisions of the Comparative

  Negligence Statute of the State of New Jersey, N.J.S.A. 2A:15-5.1 et seq.

                               EIGHTH AFFIRMATIVE DEFENSE

         This defendant includes all separate defenses applicable to plaintiff which have been

  raised by any other co-defendant in the within matter as if fully set forth herein and makes the

  same, to such extent that it does not imply liability on the part of this defendant, jointly and

  severally, these defendants’ defenses.




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                                NINTH AFFIRMATIVE DEFENSE

          This defendant denies committing any act of negligence or violating any duty owed to

  plaintiff.

                                TENTH AFFIRMATIVE DEFENSE

          Any conditions of which plaintiff complains or from which plaintiff presently suffers are

  unrelated to any of the incidents referred to in the Complaint, or to actions or treatments that

  were performed or ordered by defendant, either by causation, exacerbation, or both.

                             ELEVENTH AFFIRMATIVE DEFENSE

          The defendants aver, with respect to any treatment proposed or rendered to the plaintiff,

  that it did exercise every degree of care requisite in any hospital-patient relationship, and that the

  plaintiff was informed of all information of which plaintiff should have been informed, and that

  in so informing the plaintiff, defendants acted within accepted standards recognized and

  followed by others in the same profession and specialty.

                              TWELFTH AFFIRMATIVE DEFENSE

          The defendants aver that whatever duties were required of defendant by and for plaintiff,

  that they were performed properly, and that defendants employed and demonstrated in

  performing such duties the requisite skill, discretion, and judgment in accordance with the

  accepted standards and practices recognized and followed by others of like profession and

  specialty.

                            THIRTEENTH AFFIRMATIVE DEFENSE

          Defendants demand credit for any and all payments by way of insurance or other medical

  benefits received by the plaintiff as against any award made to plaintiff as a result of this action.




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                            FOURTEENTH AFFIRMATIVE DEFENSE

          Pursuant to R. 4:7-5, this defendant reserves the right to seek a credit reducing the

  amount of plaintiff's judgment, if any, to reflect the degree of fault allocated by the jury to any

  co-defendant, regardless of settlement by any co-defendant. These defendants assert that the

  liability of any settling co-defendant shall be an issue at the time of trial.

                              FIFTEENTH AFFIRMATIVE DEFENSE

          Plaintiff’s Complaint is barred by the Entire Controversy Doctrine.

                              SIXTEENTH AFFIRMATIVE DEFENSE

          These defendants assert its right to a credit as to any other settling co-defendant or any

  other party in any other action with whom plaintiff settles or has settled.

                           SEVENTEENTH AFFIRMATIVE DEFENSE

          Although defendants deny any negligence in this matter, if defendant is found to have

  been negligent, such negligence was passive, imputed, and constructive, and the defendant

  cross-claims for indemnification from the defendant whose negligence was and is primary, actual

  and direct.

                            EIGHTEENTH AFFIRMATIVE DEFENSE

          The claims of the plaintiff herein are barred by the Statute of Limitations in such cases

  made and provided.

                            NINETEENTH AFFIRMATIVE DEFENSE

          Plaintiff’s condition is the direct and proximate result of the natural degenerative changes

  of the human body, and have (and would have) occurred despite any and all intervention,

  prescription and treatment, or lack thereof, by these defendants.




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                              TWENTIETH AFFIRMATIVE DEFENSE

            This claim is barred or limited by the New Jersey Wrongful Death Act, N.J.S.A. 2A:3.1

  et seq.

                             TWENTY FIRST AFFIRMATIVE DEFENSE

            Any damages awarded against defendants, AtlantiCare Regional Medical Center are

  precluded or otherwise limited pursuant to N.J.S.A. 2A:53A-7.

                            REQUEST FOR STATEMENT OF DAMAGES

            Pursuant to the provisions of R. 4:5-2, it is requested that within five days of service

  hereof, you furnish a written statement specifying the amount of damage claimed by the plaintiff

  in the above-entitled action.

                        NOTICE OF DESIGNATION OF TRIAL COUNSEL

            Pursuant to R. 4:25-4, Eric M. Wood, Esquire, is hereby designated as trial counsel.

                                        AFFIDAVIT OF MERIT

            Pursuant to N.J.S.A. 2A:53A-26, demand is made, here and now, for an Affidavit of Merit as

  to an individual competent to render an affidavit against a hospital and/or hospital system; and an

  Affidavit of Merit as to an individual competent to render an affidavit against a medical practice

  specializing in obstetrics and gynecology.

                   JURY DEMAND AND NOTICE PURSUANT TO RULE 1:8(c)

            The answering defendant(s) demand a trial by jury on all issues so triable. Notice is

  hereby given that this demand shall continue and become effective upon the drawing of a jury of

  six persons and that the stipulation customarily deemed to have been agreed to pursuant to Rule

  1:8-2(c) is specifically rejected. Defendants hereby place on the record refusal to stipulation to a

  verdict by less than six jurors on any question before the jury.




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                        NOTICE PURSUANT TO R. 1:5-1(a) and 4:17-4(c)

          Please take notice that the undersigned attorney does hereby demand, pursuant to the

  above cited Rules of Court that each party herein serving pleadings and interrogatories and

  receiving answers thereto, serve all copies of such pleadings and answered interrogatories, and

  all documents, papers and other material referred to therein, received from any party, upon the

  undersigned attorney and take notice that this is a continuing demand.

                                                  FOX ROTHSCHILD LLP




                                                  By: ______________________________
                                                        Eric M. Wood, Esquire


  Dated: April 30, 2021


                            CERTIFICATION PURSUANT TO R. 4:5-1

          I certify that to the best of my knowledge there are no other pending actions or arbitration

  proceedings concerning the subject of this action, and that no such other actions or arbitration

  proceedings are contemplated at this time. I further certify that I know of no other persons who

  should be joined as parties in this action at this time.

                                                  FOX ROTHSCHILD LLP




                                                  By: ______________________________
                                                        Eric M. Wood, Esquire

  Dated: April 30, 2021




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  Fox Rothschild LLP
  formed in the Commonwealth of Pennsylvania
  1301 Atlantic Avenue
  Midtown Building, Suite 400
  Atlantic City, New Jersey 08401
  609-348-4515 (FAX: 609-348-6834)
  Eric M. Wood Attorney ID #022581990
  Epiphany McGuigan Attorney ID#045911883
  Attorneys for Defendants, AtlantiCare Physicians Group OB/GYN
  and AtlantiCare Regional Medical Center

                                                               SUPERIOR COURT OF NEW JERSEY
  LATIFAH DAVIS, Individually and as                                   LAW DIVISION
  Administratrix of the Estate of LEGEND                             ATLANTIC COUNTY
  JONES
                                                                   DOCKET NO.: ATL-L-4213-20
                                                 Plaintiff,
                      vs.                                                CIVIL ACTION

  BLAIR A. BERGEN, M.D.; NICOLE SIEMS,
  DO; SOUTHERN JERSEY FAMILY                                      PROOF OF FILING AND SERVICE
  MEDICAL CENTERS; ATLANTICARE
  PHYSICIANS GROUP OBSTETRICS AND
  GYNECOLOGY; ATLANTICARE
  MATERNAL FETAL MEDICINE;
  ATLANTICARE REGIONAL MEDICAL
  CENTER; JOHN DOES 1-110; ABC
  ENTITIES 1-10

                                               Defendants.



          I, Jo Ann Rowen, hereby certify as follows:

  1.        I am a legal administrative assistant at Fox Rothschild LLP, attorneys for defendant..

  2.      On April 30, 2021, I filed via eCourts Answer to Plaintiffs’ First Amended Complaint on
  behalf of defendants, AtlantiCare Physicians Group OB/GYN and AtlantiCare Regional Medical
  Center, to the Clerk of the Court at the Atlantic County Superior Court of New Jersey, and I
  served a copy on all counsel of record via eCourts.




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         3.      I certify that the foregoing statements made by me are true. I am aware that if any of
 the foregoing statements made by me are willfully false I am subject to punishment.




                                               _____________________________________
                                               Jo Ann Rowen




                                                 14
  120592591-4/30/21
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                              Exhibit 8
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      -

      ATLANTIC COUNTY LAW DIVISION
      SUPERIOR COURT OF NEW JERSEY
      1201 BACHARACH BLVD
      ATLANTIC CITY    NJ 08401
                                            DISMISSAL NOTICE

      TELEPHONE - (609) 402-0100 EXT. 47790,ROBERT HELSABECK       TEAM 002
      COURT HOURS: 8:30 AM - 4:30 PM

                        DATE: MAY 07, 2021
                          RE: DAVIS LATIFAH VS BERGEN, M.D. BLAIR
                      DOCKET: ATL L -004213 20
                      PARTY:   B BERGEN, M.D.




             PLEASE TAKE NOTICE THAT ON JULY 06, 2021      (60 DAYS FROM DATE OF
      THIS NOTICE), THE COURT WILL DISMISS THE ABOVE PARTY OR PARTIES FOR LACK OF
      PROSECUTION WITHOUT PREJUDICE, PURSUANT TO RULE 1:13-7 OR RULE 4:43-2 UNLESS ACTION
      REQUIRED UNDER THE ABOVE RULES IS TAKEN.


        HON JAMES P. SAVIO                                               ATT: ADAM M. EPSTEIN
     _________________________________                                   MAZIE SLATER KATZ &
FREEMAN
            JUDGE
                                                                         103 EISENHOWER PKY
                                                                         ROSELAND         NJ 07068
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                              Exhibit 9
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  RACHAEL A. HONIG
  Acting United States Attorney
  JOHN F. BASIAK JR.
  Assistant U.S. Attorney
  402 East State Street, Room 430
  Trenton, NJ 08608
  (609) 858-0309
  john.basiak@usdoj.gov
  Attorneys for United States

   LATIFAH DAVIS, Individually and           UNITED STATES DISTRICT COURT
   as Administratrix of the Estate of        FOR THE DISTRICT OF
   LEGEND JONES,                             NEW JERSEY

                Plaintiff,                   Civil Action No.

         v.
                                             CERTIFICATION OF SCOPE OF
   BLAIR A. BERGEN, M.D.; NICOLE             FEDERAL EMPLOYMENT
   M. SIEMS, D.O.; SOUTHERN
   JERSEY FAMILY MEDICAL
   CENTERS; ATLANTICARE
   PHYSICIANS GROUP OBSTETRICS
   & GYNECOLOGY; ATLANTICARE
   REGIONAL MEDICAL CENTER;
   JOHN DOES 1-10; ABC ENTITIES
   1-10,

                Defendants.

        I, J. ANDREW RUYMANN, declare as follows:

        1.     I am the Chief of the Civil Division, United States Attorney’s Office for

  the District of New Jersey.

        2.     Under 42 U.S.C. § 233(c) and 28 C.F.R. § 15.4, I am vested with the

  authority to certify whether a federal employee or “covered person” named as a

  defendant in a civil action was acting within the scope of his or her employment or

  office at the time of the incident out of which the claim arose.

        3.     I have read the amended complaint filed by Plaintiffs on March 12,
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  2021 in the Superior Court of New Jersey, Atlantic County, Law Division, Civil

  Part, ATL-L-4213-20, against Blair A. Bergen, M.D., Nicole M. Siems, D.O., and

  Southern Jersey Family Medical Centers (collectively, the “FQHC Defendants”).

        4.     On or about May 26, 2021, the Department of Health and Human

  Services (“HHS”) “deemed” the FQHC Defendants to be employees of the U.S.

  Public Health Service under the Federally Supported Health Centers Assistance

  Act, 42 U.S.C. § 233 (g)-(n).

        5.     On the basis of the allegations contained in the amended complaint

  and the information now available to me, I find that the FQHC Defendants were

  acting within the scope of their employment or office as deemed employees of the

  United States at the time of the conduct alleged in the amended complaint.


                                               RACHAEL A. HONIG
                                               Acting United States Attorney

                                               s/ J. Andrew Ruymann
                                        By:
                                               J. ANDREW RUYMANN
                                               Chief, Civil Division
                                               Assistant U.S. Attorney

  Dated: July 1, 2021




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                             Exhibit 10
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                                                                U.S. Department of Justice

                                                                United States Attorney
                                                                District of New Jersey
                                                                Civil Division

  _____________________________________________________________________________________________________________________

  RACHAEL A. HONIG                                              402 East State Street, Room 430    main: (609) 989-2190
  ACTING UNITED STATES ATTORNEY                                 Trenton, NJ 08608                  direct: (609) 858-0309
                                                                john.basiak@usdoj.gov              fax: (609) 989-2275
  John F. Basiak Jr.
  Assistant United States Attorney


                                                                July 1, 2021

  Via eCourts
  Clerk, Superior Court of New Jersey
  Atlantic County
  Law Division, Civil Part
  1201 Bacharach Blvd.
  Atlantic City, NJ 08401

            Re:       Davis, et al. v. Bergen et al., Docket Number: ATL-L-4213-20
                      Notice of Removal

  Dear Sir or Madam:

         Enclosed is a notice of removal and a civil cover sheet filed with the United
  States District Court for the District of New Jersey for the above-referenced matter.
  Under the rules governing eCourts filings, a courtesy copy of this submission will
  also be provided to the Honorable James P. Savio, J.S.C., who previously presided
  over this matter.

        Pursuant to 28 U.S.C. § 1446(d), effective upon the filing of the notice of
  removal in the Superior Court, this matter is removed to the federal district court.
  The statute directs that the state court “shall proceed no further” with this matter
  unless the case is remanded. Thank you for your assistance with this matter.

                                                                Respectfully submitted,

                                                                RACHAEL A. HONIG
                                                                Acting United States Attorney


                                                       By:      /s/ John F. Basiak Jr.
                                                                JOHN F. BASIAK JR.
                                                                Assistant U.S. Attorney
                                                                Attorneys for United States
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  Encls.
  cc:    Adam M. Epstein (counsel for Plaintiffs)
         Eric M. Wood (counsel for the AtlantiCare Defendants)




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